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                   IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF UTAH



In re                                                     Jointly Administered under
                                                          Case No. 22-bk-21037-WTT
SONEV CONSTRUCTION LLC and
                                                   (Jointly Administered with Case No. 22-bk-
KEITH GILBERT,                                                   21988-WTT)

               Debtors.                                            Chapter 11

                                                  THIS DOCUMENT RELATES TO BOTH
                                                            DEBTORS

                 JOINT DEBTORS’ PLAN OF REORGANIZATION


        SoNev Construction LLC, the above-captioned debtor and debtor-in-possession

(“SoNev” or the “Debtor”), and Keith Gilbert, an individual and the principal of SoNev

(“Gilbert” and, together with SoNev, the “Joint Debtors” or each a “Joint Debtor”) who also is

a debtor and is jointly filing this Plan of Reorganization with Debtor, by and through their

respective counsel, file and propose this Plan of Reorganization (this “Plan”) under Subchapter

V of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).




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                                            SUMMARY

THIS SUMMARY IS FOR CONVENIENCE ONLY AND IS QUALIFIED ENTIRELY
BY THE TERMS OF THIS PLAN. CAPITALIZED TERMS NOT DEFINED IN THIS
SUMMARY SHALL HAVE THE SAME MEANING AS DEFINED IN THE PLAN.

        The Joint Debtors commenced their Chapter 11 Cases by filing petitions for relief under

Subchapter V of Chapter 11 of the Bankruptcy Code because of interruptions in SoNev’s

operations and to resolve their then-inability to pay secured and unsecured debts as they came

due. To maximize the value of the Joint Debtors’ estates, pay creditors’ claims, and reorganize

their financial affairs, the Joint Debtors hereby submit this Plan of Reorganization.

        Under the Plan, the Joint Debtors will do the following:

        (1) pay all classified and unclassified Priority Claims in full, in cash, 20 days after the

Effective Date;

        (2) pay the Holders of Secured Claims, which are primarily financing arrangements for

the Debtor’s construction equipment, in full with interest over 5 years in regular quarterly

payments beginning 20 days after the Effective Date, with the holders of such Secured Claims to

retain their security interests;

        (3) reinstate, cure, and pay the Secured Claim of the U.S. Small Business Administration

in accordance with its loan agreement with the Debtor with the U.S. Small Business

Administration to retain its security interest in substantially all of the Debtor’s personal property;

        (4) pay the Holders of General Unsecured Claims in full with interest at the Federal

Judgment Rate over 5 years in regular quarterly payments beginning on the fifth day of the first

calendar quarter after the Effective Date; and

        (5) reinstate the existing Equity Interests of the Debtor.

        The Debtor will fund the execution of this Plan using revenue from the Debtor’s

operations. Gilbert will fund his responsibilities under this Plan with the income he receives as

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Manager of the Debtor and, to the extent necessary, with the income he receives from other

entities in which he holds an ownership interest.

            The treatment of Claims and Equity Interests in each class for the Debtor is summarized
               1
as follows:

                                 SUMMARY OF CLAIMS AGAINST THE DEBTOR

    Class     Type of Allowed Claim or            Impairment/Voting            Recovery/Treatment
               Equity Interest: Holders
                         Name
1             Priority Claims                   Unimpaired             • Payment in full in cash 20 days
                                                Not Entitled to Vote     after the Effective Date
                                                Deemed to Accept
2             Secured Creditor:                 Impaired               • Payment in full in regular quarterly
                                                Entitled to Vote         cash payments commencing on the
              Stearns Bank Equipment                                     fifth day of the first calendar quarter
              Finance                                                    after the Effective Date over five
                                                                         years with interest at five percent
                                                                       • Retains security interest (each
                                                                         containing cross collateralization
                                                                         clauses)
3             Secured Creditor:                 Impaired               • Payment in full in regular quarterly
                                                Entitled to Vote         cash payments commencing on the
              Komatsu Financial Limited                                  fifth day of the first calendar quarter
              Partnership                                                after the Effective Date over five
                                                                         years with interest at five percent
                                                                       • Retains security interest in its
                                                                         collateral
4             Secured Creditor:                 Impaired               • Payment in full in regular quarterly
                                                Entitled to Vote         cash payments commencing on the
              Komatsu America, DBA                                       fifth day of the first calendar quarter
              Komatsu Equipment                                          after the Effective Date over five
              Company                                                    years with interest at five percent
                                                                       • Retains security interest in its
                                                                          collateral
5             Secured Creditor:                 Impaired               • Payment in full in regular quarterly
                                                Entitled to Vote         cash payments commencing on the
              Komatsu Financial Limited                                  fifth day of the first calendar quarter
              Partnership                                                after the Effective Date over five
                                                                         years with interest at five percent
                                                                       • Retains security interest in its
                                                                          collateral




1
    Gilbert’s Claims are classified in Section 2.5 of the Plan.
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6         Secured Creditor:           Impaired                   • Payment in full in regular quarterly
                                      Entitled to Vote             cash payments commencing on the
          Komatsu Financial Limited                                fifth day of the first calendar quarter
          Partnership                                              after the Effective Date over five
                                                                   years with interest at five percent
                                                                 • Retains security interest in its
                                                                    collateral
7         Secured Creditor:           Impaired                   • Payment in full in regular quarterly
                                      Entitled to Vote             cash payments commencing on the
          Komatsu Financial Limited                                fifth day of the first calendar quarter
          Partnership                                              after the Effective Date over five
                                                                   years with interest at five percent
                                                                 • Retains security interest in its
                                                                    collateral
8         Secured Creditor:           Unimpaired                 • Payment in full under terms the
                                      Deemed to Accept, but         terms of the Loan Authorization
          U.S. Small Business         will solicit vote anyway      and Agreement dated June 20, 2020
          Administration                                            between Debtor and the U.S. Small
                                                                    Business Administration.
                                                                 • Retains security interest in
                                                                    substantially all of the Debtor’s
                                                                    personal property
9         Secured Creditor:           Impaired                   • Payment in full in regular quarterly
                                      Entitled to Vote             cash payments commencing on the
          Caterpillar Financial                                    fifth day of the first calendar quarter
          Services Corporation                                     after the Effective Date over five
                                                                   years with interest at five percent
                                                                 • Retains security interest in its
                                                                    collateral
10        Secured Creditor:           Impaired                   • Payment in full in regular quarterly
                                      Entitled to Vote             cash payments commencing on the
          Road Machinery                                           fifth day of the first calendar quarter
          LLC/Financial Pacific                                    after the Effective Date over five
          Leasing                                                  years with interest at five percent
                                                                 • Retains security interest in its
                                                                    collateral
11        Secured Creditor:           Impaired                   • Payment in full in regular quarterly
                                      Entitled to Vote             cash payments commencing on the
          Crestmark Vendor Finance,                                fifth day of the first calendar quarter
          a Division of Metabank,                                  after the Effective Date over five
          National Association                                     years with interest at five percent
                                                                 • Retains security interest in its
                                                                    collateral
12        Secured Creditor:           Impaired                   • Payment in full in regular quarterly
                                      Entitled to Vote             cash payments commencing on the
          Deere & Company                                          fifth day of the first calendar quarter
                                                                   after the Effective Date over five
                                                                   years with interest at five percent
                                                                 • Retains security interest in its
                                                                    collateral

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13     Secured Creditor:            Impaired                   • Payment in full in regular quarterly
                                    Entitled to Vote             cash payments commencing on the
       Ford Motor Credit                                         fifth day of the first calendar quarter
                                                                 after the Effective Date over five
                                                                 years with interest at five percent
                                                               • Retains security interest in its
                                                                  collateral
14     Secured Creditor:            Impaired                   • Payment in full in regular quarterly
                                    Entitled to Vote             cash payments commencing on the
       Amur Equipment Finance                                    fifth day of the first calendar quarter
       Corporation Service                                       after the Effective Date over five
       Company as Representative                                 years with interest at five percent
                                                               • Retains security interest in its
                                                                  collateral
15     Secured Creditor:            Impaired                   • Payment in full in regular quarterly
                                    Entitled to Vote             cash payments commencing on the
       Amur Equipment Finance                                    fifth day of the first calendar quarter
       Corporation Service                                       after the Effective Date over five
       Company as Representative                                 years with interest at five percent
                                                               • Retains security interest in its
                                                                  collateral
16     Secured Creditor:            Impaired                   • Payment in full in regular quarterly
                                    Entitled to Vote             cash payments commencing on the
       Balboa Capital                                            fifth day of the first calendar quarter
                                                                 after the Effective Date over five
                                                                 years with interest at five percent
                                                               • Retains security interest in its
                                                                  collateral
17     Secured Creditor:            Impaired                   • Payment in full in regular quarterly
                                    Entitled to Vote             cash payments commencing on the
       Advantage                                                 fifth day of the first calendar quarter
       Leasing/Associated Bank,                                  after the Effective Date over five
       N.A.                                                      years with interest at five percent
                                                               • Retains security interest in its
                                                                  collateral
18     Secured Creditor             Impaired                   • Payment in full in regular quarterly
                                    Entitled to Vote             cash payments commencing on the
       Ford Motor Credit                                         fifth day of the first calendar quarter
                                                                 after the Effective Date over five
                                                                 years with interest at five percent
                                                               • Retains security interest in its
                                                                 collateral
19     General Unsecured Claims     Impaired                    • Payment in full in regular quarterly
                                    Entitled to Vote               payments beginning on the fifth
                                                                   day of the first calendar quarter
                                                                   after the Effective Date with
                                                                   interest at the Federal Judgment
                                                                   Rate
20     Equity Interests in the      Unimpaired                  • Existing Equity Interests will be
       Debtor                       Deemed to Accept, but         reinstated
                                    will solicit vote anyway
                                               5
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21       Secured Creditor:             Unimpaired                 • Claims will be paid by Gilbert in
                                       Deemed to Accept, but        accordance with pre-Petition Date
         Americredit Financial         will solicit vote anyway     agreements between Gilbert and
         Services, Inc., d/b/a GM                                   GM Financial
         Financial                                                • Retains a security interest in its
                                                                    Collateral

       All Holders of Claims and Equity Interests should refer to Articles III through VI of

this Plan for information regarding their precise treatment. Because the Joint Debtors are

seeking confirmation of a consensual plan and all Classes except Classes 1, 8, 20 and 21 are

impaired and entitled to vote, the Joint Debtors will solicit acceptance of the Plan from all

Holders of Claims and Equity Interests. The Joint Debtors will distribute this Plan to all parties

in interest upon approval of a confirmation schedule by the Bankruptcy Court. The Joint Debtors

submit that the Plan and the attachments hereto, which are incorporated by reference, contain

adequate information for all parties in interest to make an informed judgment as to whether they

will support or object to the Plan and vote to accept or reject the Plan, including information

regarding the risks associated with the Plan, alternatives to the Plan, the Debtor’s prospects, and

the rights of Holders of Claims and Equity Interests. For details regarding Gilbert’s treatment of

his Creditors, please reference Section 2.5 of the Plan.

       YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS

CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY, IF YOU HAVE ONE.

IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.




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                                          ARTICLE 1
                                         DEFINITIONS

       Capitalized words not otherwise defined in this Plan have the following meanings:

        1.1      Administrative Expense Claim means any Claim arising from the administration
of the Joint Debtor’s Chapter 11 Case as provided in section 503 of the Bankruptcy Code or that
is entitled to priority under section 507(a)(1) of the Bankruptcy Code, including, without
limitation, (a) fees and expenses of the Debtor’s professionals Allowed pursuant to an Order of
the Bankruptcy Court, and (b) all Allowed fees and expenses of the Subchapter V Trustees.

         1.2    Allowed or Allowance means with respect to Claims (a) any Claim (i) for which
a Proof of Claim has been timely filed on or before the applicable Claims Bar Date or (ii) that is
listed in the Debtor’s or Gilbert’s schedules (as amended and on file on each respective docket as
of the Effective Date) as not disputed, not contingent, and not unliquidated whether or not a
Proof of Claim has been timely filed; provided that, in each case, any such Claim shall be
considered Allowed only if and to the extent that no objection to the allowance thereof has been
filed by the Effective Date or such an objection has been withdrawn or the Claim has been
thereafter Allowed by a final non-appealable order; or (b) any Claim Allowed pursuant to the
Plan if not otherwise subject to a timely filed objection. Claims allowed solely for the purpose of
voting to accept or reject the Plan pursuant to an order of the Bankruptcy Court shall not be
considered “Allowed Claims” hereunder.

        1.3     Avoidance Action means all avoidance, recovery, subordination or other actions
or remedies that may be brought on behalf of the Joint Debtors or their estates (or any one of
them) under the Bankruptcy Code or applicable non-bankruptcy law, including, without
limitation, actions or remedies under sections 510, 542, 543, 544, 545, 547, 548, 549, 550, 551,
553(b) and 724(a) of the Bankruptcy Code and other similar state law claims and causes of
action.

        1.4    Bankruptcy Code means title 11 of the United States Code as in effect on the
Petition Date.

       1.5    Bankruptcy Court means the United States Bankruptcy Court for the District of
Utah, Southern Region of the Central Division.

       1.6     Chapter 11 Cases means this Case No. 22-bk-21037-WTT under Subchapter V
of Chapter 11 of the Bankruptcy Code in the Bankruptcy Court, and the jointly administered case
of Gilbert, Case No. 22-bk-21988-WTT.

       1.7    Claim has the meaning set forth in section 101(5) of the Bankruptcy Code, the
value of which is determined as of the Petition Date.

       1.8     Claims Bar Date means,

       With respect to the Debtor, (a) September 21, 2022 for a Proof of Claim filed by a
       government unit, (b) 30 days after the Effective Date for all Administrative Expense
       Claims; (c) 10 days after the entry of the Confirmation Order or any order approving

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       rejection of an executory contract for all Claims arising from the rejection of an
       executory contract; and (d) June 3, 2022 for a Proof of Claim for all other Claims; and

       With respect to Gilbert, (i) November 23, 2022 for a Proof of Claim filed by a
       government unit, (ii) 30 days after the Effective Date for all Administrative Expense
       Claims; (iii) 10 days after the entry of the Confirmation Order or any order approving
       rejection of an executory contract for all Claims arising from the rejection of an
       executory contract; and (iv) August 5, 2022 for a Proof of Claim for all other Claims

        1.9      Collateral means the interest of a Holder of a Secured Claim in property of the
Debtor but only to the extent that (a) such property Securing a Secured Claim properly attached,
(b) was perfected by a valid method of perfection under applicable law prior to the Petition Date
(c) that is otherwise now unavoidable, (d) and only to the extent of the value in the property that
is in excess of the Secured Claims of any and all more senior Security Interests on such property.

      1.10 Confirmation Date means the date that the Confirmation Order becomes a final,
non-appealable order and on which no stay of the Confirmation Order is in effect.

       1.11 Confirmation Hearing means the hearing that is scheduled by the Bankruptcy
Court to consider confirmation of the Plan as it may be convened and continued by the
Bankruptcy Court from time to time.

       1.12 Confirmation Order means the order entered by the Bankruptcy Court
confirming the Plan.

        1.13 Debtor means SoNev Construction LLC, a Nevada limited liability company, the
debtor in the Chapter 11 Case No. 21-bk-21037, with “Debtor” referencing such entity
irrespective of whether the reference is to a time that is either before or after the Effective Date.
Unless otherwise stated, any references to Debtor will only be to SoNev Construction LLC and
not Gilbert.

        1.14 Debtor Causes of Action means all claims, obligations, suits, judgments,
damages, demands, debts, rights, causes of action and liabilities, arising on, prior to, or after the
Petition Date, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, then existing or thereafter arising in law, equity or
otherwise, including Avoidance Actions, asserted, or which may be asserted, by or on behalf of
the Debtor and/or the Debtor’s estate, or Gilbert and Gilbert’s estate, as the case may be, whether
or not pending on the Effective Date or prosecuted thereafter against any person, based in law or
equity, including, without limitation, under the Bankruptcy Code, whether direct, indirect,
derivative, or otherwise and whether asserted or unasserted; provided, further, that for the
avoidance of doubt, Debtor Causes of action include all claims asserted in any pending adversary
proceeding, including all causes of action against The Pike Company, and all causes of action
against Cole West.

       1.15 Disallowed means a Claim (a) with respect to which the Bankruptcy Court has
entered a final non-appealable order that such Claim is disallowed, (b) not found in the Debtor’s
schedules by the Confirmation Date, or (c) for which a Proof of Claim was not filed by the
applicable Claims Bar Date.

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        1.16 Disputed means a Claim for which a Proof of Claim was filed prior to the
applicable Claims Bar Date or which was marked “Disputed” in the Debtor’s schedules that has
not been Allowed or Disallowed by a final non-appealable order and as to which the Debtor or
another party in interest has filed an objection or commenced an adversary proceeding prior to
the Effective Date.

       1.17    Effective Date means the first business day 14 days after the Confirmation Date.

        1.18 Equity Interest means the rights of the holders of the common stock of all
classes issued or unissued by the Debtor and outstanding immediately prior to the Effective Date,
and any options, warrants or other rights with respect thereto including all agreements for the
payment of profits, issuance of further Equity Interests, or any other right held by any holder of
an Equity Interest respecting the Debtor’s common stock, and including any claim arising for
rescission of the purchase or sale of an Equity Security of the Debtor to the extent it would be
subordinated to the level of common stock under section 510(b) of the Bankruptcy Code.

       1.19 Federal Judgment Rate means the interest rate in effect under 28 U.S.C. § 1961,
simple interest, which, for the avoidance of doubt, is 2.83 percent per annum.

      1.20 General Unsecured Claim means any Claim that is not an Administrative
Expense Claim, Priority Claim, Secured Claim, that is not given priority under section 507(a) of
the Bankruptcy Code or otherwise or subject to subordination under section 510 of the
Bankruptcy Code.

       1.21 Gilbert means Keith Gilbert, an individual, who is also a debtor-in-possession
whose debts and financial affairs are being reorganized under this Plan pursuant to the provisions
of Subchapter V of Chapter 11 of the Bankruptcy Code. It is expressly acknowledged that
Gilbert is a debtor under this Plan and reorganizing his debts as described herein, but any
references to “Debtor” is to SoNev Construction LLC unless otherwise stated in this Plan.

       1.22 Holder means the holder of a Claim or Equity Interest of the Debtor on the
Voting Record Date, or, in the case of an Administrative Expense Claim, such later date on
which such Administrative Expense Claim is Allowed.

      1.23 Joint Debtors means SoNev and Gilbert, collectively, and a “Joint Debtor”
means any one of SoNev or Gilbert, as applicable.

      1.24 Plan means this Plan of Reorganization under Chapter 11, Subchapter V of the
Bankruptcy Code.

       1.25 Plan Supplement means the exhibits and supporting documents to this Plan,
which shall be filed on the Bankruptcy Court docket and which are incorporated in this Plan by
reference.

      1.26 Petition Date means March 25, 2022 with respect to SoNev’s Chapter 11 Case,
and May 27, 2022 with respect to Gilbert’s Chapter 11 Case.



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       1.27 Priority Claim means a Claim that is entitled to priority in payment under section
507(a) of the Bankruptcy Code that is not an Administrative Expense Claim or a Priority Tax
Claim.

        1.28 Priority Tax Claim means a Claim that is entitled to priority in payment under
section 507(a)(8) of the Bankruptcy Code; provided, however, that any Claim on account of any
penalty arising with respect to or in connection with a Priority Tax Claim that does not
compensate the Holder for actual pecuniary loss shall be treated as a General Unsecured Claim.

       1.29 Projected Disposable Income has the meaning set forth in section 1191(d) of the
Bankruptcy Code as used in conjunction with the word “projected” in section 1191(c)(2)(B) of
the Bankruptcy Code.

       1.30    Proof of Claim means a proof of claim filed with the Bankruptcy Court.

        1.31 Subchapter V Trustees mean D. Ray Strong, the trustee in the Debtor’s Chapter
11 Case, and Harvey Sender, the trustee appointed in Gilbert’s case, each appointed under
section 1183 of the Bankruptcy Code and any successor trustees under Subchapter V.

        1.32 Secured or Security Interest means a lien on property in which a Joint Debtor
has an interest or that is subject to a valid right of setoff under section 553 of the Bankruptcy
Code, which secures a Claim, to the extent of the value of the Claim holder's interest in such
Joint Debtor’s interest in such property or to the extent of the amount subject to such valid right
of setoff, as applicable, as determined under section 506 of the Bankruptcy Code.

       1.33    Unsecured means a Claim that is not Secured.

       1.34 Unsecured Deficiency Claim means the amount of a Claim to the extent it
exceeds the value of the Collateral.

       1.35 Voting Record Date means the date that is 14 days before the first date scheduled
by the Bankruptcy Court for the Confirmation Hearing.

                            ARTICLE 2
 HISTORY OF THE JOINT DEBTORS AND EVENTS LEADING UP TO CHAPTER 11

       2.1     Nature of SoNev’s Business and Operations

        SoNev is a specialty construction contractor specializing in construction, grading,
excavation, and development services for the surface mining industry. The Debtor’s business
requires large, complex, and sophisticated heavy equipment that is specially designed for
servicing the mining industry and specialty construction projects, and the Debtor’s use and
operation of this equipment is essential to the day-to-day operations of its business. The Debtor
is providing services under contracts with large mining or specialty construction operations and
government entities in the State of Utah and other states, including Idaho and Nevada.




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               2.2     The Debtor’s Secured Creditors

                Because of the Debtor’s business model, most of SoNev’s Secured Creditors are
        manufacturers and sellers of complex and high-end heavy machinery. The Secured Creditors are
        broken down into two categories: (a) first, Secured Creditors with loans or agreements that have
        Debtor’s capital equipment held as the Secured Creditor’s Collateral, including each of the
        following Secured Creditors: Advantage Leasing, Stearns Bank Equipment Finance, Komatsu
        Financial Limited Partnership, Komatsu America, DBA Komatsu Equipment Company,
        Caterpillar Financial Services Corporation, Road Machinery LLC, Crestmark Vendor Finance,
        Deere & Company, Ford Motor Credit, Amur Equipment Finance Corporation, and Balboa
        Capital; (b) second, the U.S. Small Business Administration, which is Secured by an all-assets
        lien on Debtor’s personal property. The Debtor also has Administrative Expense Claims,
        Priority Tax Claims, and General Unsecured Claims against it.

                During the pendency of the Chapter 11 Cases, certain General Unsecured Creditors
        argued that they were secured because they had executed equipment finance agreements with the
        Debtor (thereby properly attaching themselves to the Collateral) – but on review, each of those
        Creditors failed to properly perfect as they each filed their UCC-1 financing statement in Utah,
        instead of correctly filing their UCC-1s in the state of Debtor’s formation, which is Nevada.
        This results in each of them being rendered unperfected and therefore Unsecured. As ordered by
        the Court, such a result leads to each such Creditor as being treated as a General Unsecured
        Creditor under the Plan. (See e.g., Mem. Decision on Mot. for Adequate Protection, or in the
        Alternative, Mot. for Relief from the Automatic Stay Filed by Solutions Financial Services, 7–8,
        June 1, 2022, ECF No. 103.)

               Each of the following Secured Creditors properly perfected their Security Interest under
        applicable law in their respective collateral by either (a) timely filing a UCC-1 financing
        statement in the correct state, or (b) recording the Security Interest on the vehicle’s title under
        Utah Code Ann. §§ 70A-9a-311 and 41-1a-601:

                                 DEBTOR’S SECURED CREDITORS’ COLLATERAL

                                                                                                       Dates
Class      Secured Creditor         UCC-1 #                  Description of Collateral
                                                                                                      Secured
                                                   1979 Cat 637D Scrapper S/N 26W501
                                 #2021147036-
                                                  1998 Cat 824G Bulldozer S/N 4SN00409
             Stearns Bank             9                                                              12/23/2020
 2                                             2017 CAT RX1575 Trench Roller S/N 5570436
           Equipment Finance     #2021193708-                                                        09/01/2021
                                              2020 RM MTX60HD Rammer Compactor S/N E-
                                      5
                                                                  6077
           Komatsu Financial     #2020072929-
 3                                             PC390LC-10 Hydraulic Excavator S/N A30068             02/21/2020
          Limited Partnership         2
           Komatsu America,
                                 #2020137544-    PC 390LC-10 Hydraulic Excavator S/N A30068
 4          DBA Komatsu                                                                              10/28/2020
                                      0                           Repairs
          Equipment Company
                                 #2020140061-
                                               PC360LC-11 Hydraulic Excavator S/N 90859
           Komatsu Financial         4 and
 5                                                    VT320 Skid Steer Loader S/N                    11/13/2020
           Limited Partnership   #2020140062-
                                                        GHLVT320A00040580
                                       3
 6         Komatsu Financial     #2021165526- Komatsu HB365LC-3 Hydraulic Excavator, S/N#            04/08/2021

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        Limited Partnership          4                      5190, Quick Coupler, Bucket
        Komatsu Financial       #2020089376-
7                                                   Caterpillar D6R Ripper S/N GJB00432             04/01/2020
        Limited Partnership          1
        U.S. Small Business     #2020114023-
8                                                Substantially All Personal Property of Debtor      07/06/2020
          Administration             0
        Caterpillar Financial   #2021790107-       962M Cat Wheel Loader S/N EJB00517
9                                                                                                   07/20/2021
       Services Corporation          6            Caterpillar Motor Grader 140M-B9D00399
          Road Machinery
                                #2020145187-            1979 CAT 637D S/N # 27W1107
10     LLC/Financial Pacific                                                                        12/15/2020
                                     0                     Contract #001-168549
              Leasing
         Crestmark Vendor                          2006 Pioneer PT2650 Crawler Jaw Crasher
       Finance, a Division of   #2021162659-                       S/N406796
11                                                                                                  03/31/2021
        Metabank, National           9               2001 CAT950G Loader S/N 5PW01787
            Association                            2001 KOM- Loader S/N WS420H30611
                                #2021207376- JOHN DEERE 6210 6210R 210HP TRACTOR S/N:
12      Deere & Company                                                                             11/30/2021
                                     7                              014806
13       Ford Motor Credit          Title              F150 S/N IFTEW1EP3MF830552                      N/A
                                                              D6 GCS900 System
         Amur Equipment
                                                             140 GCS900 System
        Finance Corporation     #2021207591-
14                                                           SPS855 F/R Repeater                    11/09/2021
        Service Company as           4
                                                             SPS855 F/R Repeater
           Representative
                                               All financed under that certain Contract 1024504
                                                  2012 Smithco VIN: 1S9SS4235CL476370
         Amur Equipment
                                                  2012 Smithco VIN: 1S9SS4230CL476406
        Finance Corporation     #2021767349-
15                                                2012 Smithco VIN: 1S9SS274XCL476371               04/26/2021
        Service Company as           9
                                                  2012 Smithco VIN: 1S9SS2745CL476407
           Representative
                                               All financed under that certain Contract 1019682
                                                          2010 Mack CXU Lube Truck
                                                  1M2AW02C9AN010827 012 INTL TK 4400
                                                     Service Truck 3HAMKAAN8CL548097
16        Balboa Capital            Title                                                              N/A
                                                        2007 Ford F750 XL Service Truck
                                                     1999 Sterling 2000 Gallon Water Truck
                                                2005 International 9200I Contract #305822-000
                                               1981 Cat 637D with S/N: 27W1414 and all other
            Advantage
                                #2021150053- items listed on Road Machinery LLC Invoice #:
17      Leasing/Associated                                                                          01/08/2021
                                     2       14484 dated 12/14/2020 shall be included in the EFA.
           Bank, N.A.
                                                                S/N:27W1414
18       Ford Motor Credit          Title                F250 1FD7X2A60MED10145                        N/A


            2.3     Events Leading to Filing of the Debtor’s Chapter 11 Case

             Prior to the Petition Date, the Debtor’s operations were interrupted due to a series of
     catastrophic events, resulting in cash flow difficulties. The Debtor’s work on a project for the
     new Salt Lake City Airport was halted due to a fatal accident in which one of the Debtor’s
     employees died. Key pieces of the Debtor’s equipment were in and out of service on various
     projects, which caused delays and increased costs for workarounds. The equipment failures
     resulted, at least in part, from the unavailability of parts, as well as certain manufacturers’ and
     dealers’ refusing or delaying providing warranty or other repair services on the equipment. One
     of these failures resulted in a lawsuit with one of the Debtor’s key equipment suppliers, whose
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invoices and debts remain disputed. The business conditions during the COVID-19 pandemic
have also caused business interruptions, increased the cost of materials and equipment, and
caused labor to become more expensive and scarcer. Finally, the Debtor had some disputes on
projects it has undertaken in which the parties for whom services were performed have refused to
make timely or full payment. The combined effect of all of the above resulted in inconsistent
cash flow rendering the Debtor unable to pay its current debts as they came due as of the Petition
Date.

        Accordingly, on the Petition Date, the Debtor filed its petition for relief under Chapter 11
of the Bankruptcy Code commencing its Chapter 11 Case. The Debtor elected to proceed under
Subchapter V of Chapter 11.

       2.4     Significant Events During the Debtor’s Chapter 11 Case

       On March 31, 2022, the U.S. Trustee appointed D. Ray Strong as the Subchapter V
Trustee in the Chapter 11 Case.

       The Debtor attended the Initial Debtor Interview and provided information requested to
the U.S. Trustee. The Debtor attended the First Meeting of Creditors under section 341(a) on
April 27, 2022, and the U.S. Trustee concluded the meeting. The Debtor filed its Status
Conference Report as required by section 1188(a) of the Bankruptcy Code and attended the
required Status Conference under section 1188(a) of the Bankruptcy Code on May 17, 2022.
(ECF 96.)

        On April 21, 2022, the Debtor filed an adversary proceeding against The Pike Company,
Inc., Adv. Pro. No. 22-02035-WTT on April 21, 2022 (“Pike Litigation”). (ECF 61.) As
detailed in the Pike Litigation, The Pike Company, Inc. owes the Debtor substantial sums and
also breached its contract with Debtor by unlawfully terminating their agreement. The Debtor
does not know at this time the outcome of the Pike Litigation or whether it will result in
additional funds for Debtor’s estate.

        On the Petition Date, the Debtor filed a Motion (ECF 5) for authorization to obtain post-
petition financing under section 364 of the Bankruptcy Code and provide adequate protection
payments to certain creditors. Shortly thereafter, on April 13, 2022, RPS Campbell Companies
d/b/a Solutions Financial Services (“SFS”) filed a Motion for Adequate Protection or in the
Alternative, Motion for Relief from the Automatic Stay (the “SFS Motion”). (ECF 50.) The
Debtor, after investigation of the status of its secured creditors’ security interests, determined
that SFS and several other equipment financiers had filed UCC-1 financing statements only in
Utah and not Nevada, the state of the Debtor’s organization, and were therefor not perfected. On
June 2, 2022, the Bankruptcy Court entered its Memorandum Decision and Order Denying the
SFS Motion and sustaining the Debtor’s Objection (ECF 103, 104) in which it ruled that SFS is
not perfected under Section 9-307 of the Utah or Nevada Uniform Commercial Code because it
failed to file a UCC-1 financing statement in the State of Nevada, where the Debtor is organized.
(Decision, ECF 103, at 6-7.) The Decision is controlling precedent for the Debtor’s other
secured financiers who failed to perfect by filing a UCC-1 financing statement in Nevada. The
Debtor subsequently filed amended schedules reflecting that the improperly perfected financiers
are unsecured.


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        The Debtor required an extension of the 90-day deadline under 11 U.S.C. § 1189(b) in
order to resolve the SFS Motion and stabilize its operations and cash flows. Accordingly, the
Debtor filed a Motion to Extend Time to File a Plan (ECF 97), and the Court granted an
extension through September 21, 2022. (ECF 134.)

       On June 6, 2022, the Joint Debtors filed the Debtors’ Motion for Order Directing Joint
Administration (the “Joint Administration Motion”), whereby the Joint Debtors sought an
order directing the joint administration of the Joint Debtors’ bankruptcy cases for procedural
purposes. (ECF 108.) On July 20, 2022, the Bankruptcy Court entered an Order granting the
Joint Administration Motion. (ECF 147.)

       The Debtor anticipates shortly filing a Motion for Order Authorizing the Debtor to
(1) Obtain Post-Petition DIP Financing, (2) Exercise Options Agreements to Purchase Certain
Leased Equipment, and (3) Sell the Purchased Equipment at Action and Repay DIP Financing
(“Equipment Sale Motion”). This is anticipated to earn an additional $1,020,064 for the
operation of Debtor’s estate and to facilitate the performance of this Plan.

        In addition to the preceding, the Debtor has timely filed each of its monthly operating
reports. The Debtor is not required to pay fees to the U.S. Trustee because the Debtor is
proceeding under Subchapter V of Chapter 11. The Debtor timely filed this Plan prior to the
extended September 21, 2022 deadline.

        2.5    Gilbert’s Relationship with Debtor and this Joint Plan

       Gilbert is the Manager of Debtor and the Holder of 75 percent of its Equity Interests. In
connection with the Debtor’s financing of its operations, Gilbert personally guaranteed certain
equipment finance agreements, each as detailed in Gilbert’s Creditor Claims Summary below.
Upon Debtor filing for relief on the Petition Date, Gilbert could have been called to pay on the
guarantees, but Gilbert lacked the funds to pay the guaranteed debts as they came due.
Accordingly, on May 27, 2022, Gilbert filed his petition for relief under Subchapter V of Chapter
11 under the Bankruptcy Code.

               (a)        Gilbert’s Claims, Treatment, Impairment, and Voting

      The following is a summary of the treatment afforded under the Plan to Holders of
Allowed Claims against Gilbert.

                     CLASSIFICATION AND TREATMENT OF GILBERT’S CLAIMS

Class    Type of Allowed        Impairment/Voting                       Recovery/Treatment
         Claim; Holders
             Name
A       Priority Claims        Unimpaired              • Payment in full in cash 20 days after the Effective
                               Not Entitled to Vote      Date from Gilbert
                               Deemed to Accept        • Treatment more specifically set forth as Class 1
                                                         Claims.



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Class    Type of Allowed      Impairment/Voting                         Recovery/Treatment
         Claim; Holders
             Name
B       Secured Claims of     Unimpaired              • Reinstatement and cure of Gilbert’s obligations under
        GM Financial          Not Entitled to Vote      those certain agreements with GM Financial for
                              Deemed to Accept          Gilbert’s 2021 GMC 2500 and 2017 Ford F-150, GM
                                                        retains its Security Interests in the aforementioned
                                                        Collateral, with payments made according to the
                                                        agreements from Gilbert’s salary
                                                      • Treatment more specifically set forth as Class 21
                                                        Claims under the Summary of Claims of the Debtor
                                                        above.

C       Unsecured (as to      Impaired                • Payment in full by SoNev under the terms of this Plan
        Gilbert) Guarantee    Entitled to Vote          in regular quarterly cash payments commencing on the
        Claims (all claims                              fifth day of the first calendar quarter after the Effective
        arising from                                    Date over five years with interest at five percent
        guarantees of SoNev                           • Payment guaranteed by Gilbert
        obligations)

D       General Unsecured     Impaired                • Payment in full by Gilbert from Gilbert’s salary in
        Claims (Personal      Entitled to Vote          regular quarterly cash payments commencing on the
        Only to Gilbert)                                fifth day of the first calendar quarter after the
                                                        Effective Date over five years with interest at the
                                                        Federal Judgment Rate
                                                      • Treatment more specifically set forth in Class 19.



        Under the Plan, Claims in Class C arising from financing arrangements for SoNev that
were guaranteed by Gilbert will be paid from SoNev’s revenue, and they will be personally
guaranteed by Gilbert upon default of this Plan. Claims that are personal only to Gilbert in
Classes A, B, and D will be paid by Gilbert from his salary earned as the Manager of SoNev.
Gilbert’s salary to be earned from SoNev for each year is detailed in Gilbert’s Liquidation
Analysis as available in Exhibit B, and Gilbert will use the portion of his salary necessary to pay
the personal Claims in Classes A, B, and D. All property of Gilbert’s estate, including any
property obtained after the Petition Date, will re-vest in Gilbert on the Effective Date.

               (a)     Gilbert’s Role in the Joint Plan of Reorganization

        Classes C and D are impaired under the terms of the Plan and are entitled to vote on the
Plan, and Gilbert will solicit acceptance of the Plan from such Holders of impaired Claims,
which are entitled to vote. The Joint Debtors will solicit acceptances of the Plan from all
Holders of impaired claims upon approval by the Bankruptcy Court of a confirmation schedule.
Gilbert submits that the Plan and the attachments hereto, which are incorporated by reference,
contain adequate information for all parties in interest to make an informed judgment as to
whether they will support or object to the Plan and, if applicable, vote to accept or reject the
Plan, including information regarding the risks associated with the Plan, alternatives to the Plan,
and the rights of Holders of Claims.
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        As set forth in Gilbert’s Liquidation Analysis, attached as Exhibit B hereto, and as further
detailed in Article 8 hereof, Gilbert is reorganizing his debts under Subchapter V of Chapter 11
because it maximizes the value of Gilbert’s estate for the sake of his Creditors, and they will
receive no less than they would in a liquidation of Gilbert’s assets under Chapter 7 of the
Bankruptcy Code.

        Gilbert requires reorganization because, as noted above, he guaranteed the debts of the
Debtor and is unable to pay those debts as they now are due. Absent such guarantees, Gilbert
would have no need to reorganize. Gilbert remains the principal of Debtor and, per Section 8.6
of this Plan, will remain Debtor’s Manager and thereby will earn sufficient income to distribute
cash of a value as of the Effective Date of the Plan that is not less than the Projected Disposable
Income of Gilbert in accordance with section 1191(c)(2)(B) of the Bankruptcy Code.

       Articles 6, 8, 9, 10, 11, and 12 of this Plan apply to Gilbert equally as they do to the
Debtor, as appropriate. Article 7 does not apply to Gilbert except to the extent that Gilbert is
guaranteeing the payment according to the Plan of the Claims in Class C.

                               ARTICLE 3
         CLASSIFICATION OF JOINT DEBTORS’ CLAIMS AND INTERESTS

       3.1     Class 1. Priority Claims

       Class 1 consists of all Priority Claims.

       3.2     Class 2. Stearns Bank Equipment Finance Secured Claim

        Class 2 consists of the Secured Claim of Stearns Bank Equipment Finance, from the
following agreements, each of which are cross-collateralized: Equipment Finance Agreement
and Security Agreement dated as of December 18, 2020, in the approximate amount of
$46,441.60 as of the Petition Date and that certain Equipment Finance Agreement and Security
Agreement dated as of August 23, 2021 in the approximate amount of $172,833.52 as of the
Petition Date. Each of the preceding agreements are Secured by all of the Collateral described in
the chart in Article 2, above, by and through cross-collateralization provisions. Stearns Bank
Equipment Finance has a first-priority Security Interest in the Collateral identified in the Secured
Creditors Collateral in Article 2, as specifically identified in the described Equipment Finance
Agreements, the Security Agreements, and the UCC-1 Financing Statements filed on December
23, 2020 and September 1, 2021. Stearns Bank Equipment Finance’s Secured Claim will be
deemed an Allowed Secured Claim in the amount of $219,245.12 plus accrued interest at the
non-default contract rate less payments received prior to the Effective Date.

       3.3     Class 3. Komatsu Financial Limited Partnership Secured Claim

        Class 3 consists of the Secured Claim of Komatsu Financial Limited Partnership
(“Komatsu Class 3”), which arises from that certain Security Agreement – Conditional Sales
Contract dated as of January 24, 2020 in the approximate amount of $54,037.36, and that was
perfected by a filed UCC-1 on February 21, 2020. Komatsu Class 3 has a first-priority Security
Interest in the Collateral described in the chart in Article 2, above. Komatsu Class 3’s Secured
Claim will be deemed an Allowed Secured Claim in the amount of $54,037.36 plus accrued
interest at the non-default contract rate less payments received prior to the Effective Date.
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       3.4     Class 4. Komatsu America DBA Komatsu Equipment Company

       Class 4 consists of the Secured Claim of Komatsu America, DBA Komatsu Equipment
Company (“Komatsu Class 4”), which arises from that certain Komatsu Parts & Service
Security Agreement – Conditions Sales Contract dated as of October 23, 2020 in the
approximate amount of $243,094.79. Komatsu Class 4 has a first-priority Security Interest in the
Collateral described in the chart in Article 2, above, and as more specifically identified in the
Komatsu Parts & Service Security Agreement – Conditions Sales Contract dated as of October
23, 2020 and the UCC-1 Financing Statement filed on October 28, 2020. Komatsu Class 4’s
Secured Claim will be deemed an Allowed Secured Claim in the amount of $243,094.79 plus
accrued interest at the non-default contract rate less payments received prior to the Effective
Date.

       3.5     Class 5. Komatsu Financial Limited Partnership Secured Claim

        Class 5 consists of the Secured Claim of Komatsu Financial Limited Partnership
(“Komatsu Class 5”), which arises from that certain Security Agreement – Conditional Sales
Contract dated as of October 30, 2020 in the approximate amount of $190,547.82 as of the
Petition Date and that certain Security Agreement – Conditional Sales Contract dated as of
October 30. 2020 in the approximate amount of $44,063.35 as of the Petition Date. Komatsu
Class 5 has a first-priority Security Interest in the Collateral in Row 4 of Debtor’s Collateral
Summary Chart in Article 2 as specified in the preceding Security Agreements and Conditional
Sales Contracts and the UCC-1 Financing Statement filed on November 13, 2020 and November
13, 2020. Komatsu Class 5’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $234,611.17 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date.

       3.6     Class 6. Komatsu Financial Limited Partnership Secured Claim

        Class 6 consists of the Secured Claim of Komatsu Financial Limited Partnership
(“Komatsu Class 6”), which arises from that certain Security Agreement – Conditional Sales
Contract dated as of March 31, 2021 in the approximate amount of $241,062.19. Komatsu Class
6 has a first-priority Security Interest in the Collateral described in the chart in Article 2, above,
and as more specifically identified in the Security Agreement – Conditional Sales Contract dated
as of March 31, 2021 and the UCC-1 Financing Statement filed on April 8, 2021. Komatsu
Class 6’s Secured Claim will be deemed an Allowed Secured Claim in the amount of
$241,062.19 plus accrued interest at the non-default contract rate less payments received prior to
the Effective Date.

       3.7      Class 7. Komatsu Financial Claim

        Class 7 consists of the Secured Claim of Komatsu Financial (“Komatsu Class 7”), which
arises from that certain Security Agreement – Conditional Sales Contract dated as of February
28, 2020 in the approximate amount of $36,551.56. Komatsu Class 7 has a first-priority Security
Interest in the Collateral described in the chart in Article 2, above, and as more specifically
identified in the Security Agreement – Conditional Sales Contract dated as of February 28, 2020
and the UCC-1 Financing Statement filed on April 1, 2020. Komatsu Class 7’s Secured Claim


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will be deemed an Allowed Secured Claim in the amount of $36,551.56 plus accrued interest at
the non-default contract rate less payments received prior to the Effective Date.

       3.8     Class 8. U.S. Small Business Administration Secured Claim

        Class 8 consists of the Secured Claim of the U.S. Small Business Administration, which
arises from that certain Loan Authorization and Agreement dated as of June 20, 2020 in the
approximate amount of $150,000. U.S. Small Business has a first-priority Security Interest in
substantially all of the personal property of the Debtor as specified in the Loan Authorization and
Agreement dated as of June 20, 2020 and the UCC-1 Financing Statement filed on July 6, 2020.
U.S. Small Business Administration’s Secured Claim will be deemed an Allowed Secured Claim
in the amount of $150,000 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date.

       3.9     Class 9. Caterpillar Financial Services Corporation Secured Claim

        Class 9 consists of the Secured Claim of Caterpillar Financial Services Corporation,
which arises from that certain agreement between Debtor and Caterpillar Financial Services with
a Contract Number 001-1032540-000 dated March 9, 2020 in the approximate amount of
$155,294.88. Caterpillar Financial Services Corporation has a first-priority Security Interest in
the Collateral described in the chart in Article 2, above, and as more specifically identified in the
Installment Sale Contract dated as of July 12, 2021 and the UCC-1 Financing Statement filed on
July 20, 2021. Caterpillar Financial Services Corporation’s Secured Claim will be deemed an
Allowed Secured Claim in the amount of $155,294.88 plus accrued interest at the non-default
contract rate less payments received prior to the Effective Date.

       3.10    Class 10. Road Machinery LLC/Financial Pacific Leasing Secured Claim

        Class 10 consists of the Secured Claim of Road Machinery LLC/Financial Pacific
Leasing, which arises from that certain Equipment Finance Agreement dated as of December 14,
2020 in the approximate amount of $70,586.22. Road Machinery LLC/Financial Pacific Leasing
has a first-priority Security Interest in the Collateral described in the chart in Article 2, above,
and as more specifically identified in the Equipment Finance Agreement dated as of December
14, 2020 and the UCC-1 Financing Statement filed on December 15, 2020. Road Machinery
LLC/Financial Pacific Leasing’s Secured Claim will be deemed an Allowed Secured Claim in
the amount of $70,586.22 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date.

       3.11 Class 11. Crestmark Vendor Finance, a Division of Metabank, National
Association Secured Claim

       Class 11 consists of the Secured Claim of Crestmark Vendor Finance, which arises from
that certain Equipment Finance Agreement dated as of March 23, 2021 in the approximate
amount of $145,906.94. Crestmark Vendor Finance has a first-priority Security Interest in the
Collateral described in the chart in Article 2, above, and as more specifically identified in the
Equipment Finance Agreement dated as of March 23, 2021 and the UCC-1 Financing Statement
filed on March 31, 2021. Crestmark Vendor Finance’s Secured Claim will be deemed an
Allowed Secured Claim in the amount of $145,906.94 plus accrued interest at the non-default
contract rate less payments received prior to the Effective Date.
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       3.12    Class 12. Deere & Company Secured Claim

        Class 12 consists of the Secured Claim of Deere & Company, which arises from that
certain Loan Contract – Security Agreement dated as of November 23, 2021 in the approximate
amount of $73,310.74. Deere & Company has a first-priority Security Interest in the Collateral
described in the chart in Article 2, above, and as more specifically identified in the Loan
Contract – Security Agreement dated as of November 23, 2021 and the UCC-1 Financing
Statement filed on November 30, 2021. Deere & Company’s Secured Claim will be deemed an
Allowed Secured Claim in the amount of $73,310.74 plus accrued interest at the non-default
contract rate less payments received prior to the Effective Date.

       3.13    Class 13. Ford Motor Credit Secured Claim

        Class 13 consists of the Secured Claim of Ford Motor Credit, which arises from that
certain Utah Vehicle Retail Installment Contract dated as of June 22, 2021 in the approximate
amount of $38,937.65. Ford Motor Credit has a first-priority Security Interest in the Collateral
described in the chart in Article 2, above, and as more specifically identified in the Utah Vehicle
Retail Installment Contract dated as of June 22, 2021. Ford Motor Credit’s Secured Claim will
be deemed an Allowed Secured Claim in the amount of $38,937.65 plus accrued interest at the
non-default contract rate less payments received prior to the Effective Date.

      3.14 Class 14. Amur Equipment Finance Corporation Service Company as
Representative

        Class 14 consists of the Secured Claim of Amur Equipment Finance Corporation Service
Company, which arises from that certain Equipment Finance Agreement dated as of November
17, 2021 in the approximate amount of $95,631.95. Amur Equipment Finance Corporation
Service Company has a first-priority Security Interest in the Collateral described in the chart in
Article 2, above, and as more specifically identified in the Equipment Finance Agreement dated
as of November 17, 2021 and the UCC-1 Financing Statement filed on November 9, 2021.
Amur Equipment Finance Corporation Service Company’s Secured Claim will be deemed an
Allowed Secured Claim in the amount of $95,631.95 plus accrued interest at the non-default
contract rate less payments received prior to the Effective Date.

      3.15 Class 15. Amur Equipment Finance Corporation Service Company as
Representative

       Class 15 consists of the Secured Claim of Amur Equipment Finance Corporation Service
Company, which arises from that certain Equipment Finance Agreement dated as of April 23,
2021 in the approximate amount of $93,098.28. Amur Equipment Finance Corporation Service
Company has a first-priority Security Interest in the Collateral described in the chart in Article 2,
above, and as more specifically identified in the Equipment Finance Agreement dated as of April
23, 2021 and the UCC-1 Financing Statement filed on April 26, 2021. Amur Equipment Finance
Corporation Service Company’s Secured Claim will be deemed an Allowed Secured Claim in
the amount of $93,098.28 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date.



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       3.16    Class 16. Balboa Capital Secured Claim

       Class 16 consists of the Secured Claim of Balboa Capital, which arises from the
following agreements, each being cross collateralized: Equipment Financing Agreement dated as
of January 8, 2021 in the approximate amount of $95,631.95; Equipment Financing Agreement
dated as of March 23, 2021 in the approximate amount of $65,900.16; and Equipment Financing
Agreement dated as of March 25, 2021 in the approximate amount of $19,050.39 (collectively
the “Balboa Agreements”). Balboa Capital has a first-priority Security Interest in the Collateral
described in the chart in Article 2, above, and as more specifically identified in the Balboa
Agreements. Balboa Capital’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $180,582.50 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date.

       3.17    Class 17. Advantage Leasing and Associated Bank, N.A. Secured Claim

        Class 17 consists of the Secured Claim of Advantage Leasing and Associated Bank,
N.A., which arises from that certain Equipment Finance Agreement dated as of December 18,
2020 in the approximate amount of $37,051.73. Advantage Leasing and Associated Bank, N.A.
has a has a first-priority Security Interest in the Collateral described in the chart in Article 2,
above, and as more specifically identified in the Equipment Finance Agreement dated as of
December 18, 2020 and the UCC-1 Financing Statement filed on January 8, 2021. Advantage
Leasing and Associated Bank, N.A.’s Secured Claim will be deemed an Allowed Secured Claim
in the amount of $37,051.73 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date.

       3.18    Class 18. Ford Motor Credit Secured Claim

        Class 18 consists of the Secured Claim of Ford Motor Credit, which arises from that
certain Utah Vehicle Retail Installment Contract dated as of April 21, 2021 in the approximate
amount of $41,441.00. Ford Motor Credit has a first-priority Security Interest in the Collateral
described in the chart in Article 2, above, and as more specifically identified in the Utah Vehicle
Retail Installment Contract dated as of April 21, 2021. Ford Motor Credit’s Secured Claim will
be deemed an Allowed Secured Claim in the amount of $41,441.00 plus accrued interest at the
non-default contract rate less payments received prior to the Effective Date.

       3.19    Class 19. General Unsecured Claims

       Class 19 consists of all General Unsecured Claims, including all Unsecured Deficiency
Claims and Claims arising from agreements that were secured prior to the Petition Date but not
properly perfected or unperfected as of the Petition Date. Class 19 also includes General
Unsecured Claims against Gilbert.

       3.20    Class 20. Equity Interests

       Class 20 consists of all Equity Interests.




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      3.21     Class 21. Americredit Financial Services, Inc., d/b/a GM Financial Secured
Claims

        Class 21 consists of all Secured Claims of Americredit Financial Services, Inc., d/b/a GM
Financial (“GM Financial”), which arise from: (i) that certain Retail Installment Contract and
Security Agreement dated as of October 2, 2019, in the principal amount of $31,628.20, for the
purchase of a 2017 Ford F-150 XLT, VIN # 1FTEW1EP0HFA10455; and (ii) that certain Retail
Installment Contract and Security Agreement dated as of May 12, 2021, in the principal amount
of $66,688.73, for the purchase of a 2021 GMC Sierra 3500HD, VIN # 1GT49WEY5MF245629.
GM Financial’s Secured Claims will be deemed Allowed Secured Claims, and will be paid in
accordance with the terms of the respective Retail Installment Contracts and Security
Agreements executed by Gilbert in favor of GM Financial.

                           ARTICLE 4
  TREATMENT OF JOINT DEBTOR ADMINISTRATIVE EXPENSE CLAIMS AND
                      PRIORITY TAX CLAIMS

       4.1     Unclassified Claims

       Consistent with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, and Priority Tax Claims are not classified in this Plan.

       4.2     Administrative Expense Claims

        Each Holder of an Allowed Administrative Expense Claim under section 503 of the
Bankruptcy Code will be paid in full in cash by the respective Joint Debtor on the later of (a) the
Effective Date or (b) the date that such Administrative Expense Claim becomes an Allowed
Administrative Expense Claim or upon such other terms as may be agreed upon by the Holder of
the Administrative Expense Claim and the Debtor.

       4.3     Priority Tax Claims

       Each holder of a Priority Tax Claim will be paid in full in cash by the respective Joint
Debtor on the Effective Date. The Debtor believes that it has no non-current Priority Tax
Claims.

                            ARTICLE 5
    TREATMENT OF DEBTOR’S CLAIMS AND INTERESTS UNDER THE PLAN

       Claims and interests will be treated as follows under this Plan:

       5.1     Class 1. Priority Claims

        Holders of Class 1 Priority Claims will receive, in full satisfaction of their Allowed
Priority Claims, cash from the Debtor on the later of (a) 20 days after the Effective Date or
(b) the date that such Priority Claim becomes an Allowed Priority Claim.




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               (a)     Impairment

       Class 1 is unimpaired.

               (b)     Voting

        Because Class 1 is unimpaired, the Holders of Class 1 Priority Claims will not be entitled
to vote on the Plan. Class 1 will be deemed to accept the Plan.

       5.2     Class 2. Stearns Bank Equipment Finance Secured Claim

        Stearns Bank Equipment Finance’s Secured Claim will be deemed an Allowed Secured
Claim in the amount of $219,245.12 plus accrued interest at the non-default contract rate less
payments received prior to the Effective Date in accordance with the terms of both of the
following: that certain Equipment Finance Agreement and Security Agreement dated as of
December 18, 2020, and the Equipment Finance Agreement and Security Agreement dated as of
August 23, 2021. The Debtor will pay Stearns Bank Equipment Finance’s Secured Claim in full
in regular quarterly cash payments commencing on the fifth day of the first calendar quarter after
the Effective Date over five years with interest at five percent. The Debtor’s obligation to pay
this Secured Claim under the terms of this Plan are guaranteed by Gilbert. Further, Stearns Bank
Equipment Finance will retain its Security Interest in the Collateral until it is paid in full
according to the Plan.

               (a)     Impairment

       Class 2 is impaired.

               (b)     Voting

        Because Class 2 is impaired, the Holder of the Class 2 Claim will be entitled to vote on
the Plan.

       5.3     Class 3. Komatsu Class 3 Secured Claim

        Komatsu’s Class 3’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $54,037.36, plus accrued interest at the non-default contract rate in the Security
Agreement – Conditional Sales Contract dated as of January 24, 2020 less payments received
prior to the Effective Date. The Debtor will pay Komatsu’s Class 3 Secured Claim in full in
regular quarterly cash payments commencing on the fifth day of the first calendar quarter after
the Effective Date over five years with interest at five percent. The Debtor’s obligation to pay
Komatsu’s Class 3 Secured Claim under the terms of this Plan are guaranteed by Gilbert.
Further, Komatsu will retain its Security Interest in the Collateral until it is paid in full according
to the Plan.

               (a)     Impairment

       Class 3 is impaired.



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               (b)     Voting

        Because Class 3 is impaired, the Holder of the Class 3 Claim will be entitled to vote on
the Plan.

       5.4     Class 4. Komatsu Class 4 Secured Claim

        Komatsu Class 4’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $243,094.79, plus accrued interest at the non-default contract rate in Komatsu Parts &
Service Security Agreement – Conditions Sales Contract dated as of October 23, 2020 less
payments received prior to the Effective Date. The Debtor will pay Komatsu’s Class 4 Secured
Claim in full in regular quarterly cash payments commencing on the fifth day of the first
calendar quarter after the Effective Date over five years with interest at five percent. The
Debtor’s obligation to pay Komatsu’s Class 4 Secured Claim under the terms of this Plan are
guaranteed by Gilbert. Further, Komatsu will retain its Security Interest in the Collateral until it
is paid in full according to the Plan.

               (a)     Impairment

       Class 4 is impaired.

               (b)     Voting

        Because Class 4 is impaired, the Holder of the Class 4 Claim will be entitled to vote on
the Plan.

       5.5     Class 5. Komatsu Class 5 Secured Claim

        Komatsu Class 5’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $234,611.17, plus accrued interest at the non-default contract rate Security Agreement
– Conditional Sales Contract dated as of October 30, 2020, and the Security Agreement –
Conditional Sales Contract dated as of October 30, 2020, less payments received prior to the
Effective Date. The Debtor will pay Komatsu’s Class 5 Secured Claim in full in regular
quarterly cash payments commencing on the fifth day of the first calendar quarter after the
Effective Date over five years with interest at five percent. The Debtor’s obligation to pay
Komatsu’s Class 5 Secured Claim under the terms of this Plan are guaranteed by Gilbert.
Further, Komatsu will retain its Security Interest in the Collateral until it is paid in full according
to the Plan.

               (a)     Impairment

       Class 5 is impaired.

               (b)     Voting

        Because Class 5 is impaired, the Holder of the Class 5 Claim will be entitled to vote on
the Plan.



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       5.6     Class 6. Komatsu Class 6 Secured Claim

         Komatsu Class 6’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $241,062.19 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date. The Debtor will pay Komatsu’s Class 5 Secured Claim in
full in regular quarterly cash payments commencing on the fifth day of the first calendar quarter
after the Effective Date over five years with interest at five percent. The Debtor’s obligation to
pay Komatsu’s Class 5 Secured Claim under the terms of this Plan are guaranteed by Gilbert.
Further, Komatsu will retain its Security Interest in the Collateral until it is paid in full according
to the Plan.

               (a)     Impairment

       Class 6 is impaired.

               (b)     Voting

        Because Class 6 is impaired, the Holder of the Class 6 Claim will be entitled to vote on
the Plan.

       5.7     Class 7. Komatsu Class 7 Secured Claim

        Komatsu Class 7’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $36,551.56 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date in accordance with the terms of its Security Agreement –
Conditional Sales Contract dated as of February 28, 2020. The Debtor will pay Komatsu’s
Class 7 Secured Claim in full in regular quarterly cash payments commencing on the fifth day of
the first calendar quarter after the Effective Date over five years with interest at five percent.
The Debtor’s obligation to pay Komatsu’s Class 7 Secured Claim under the terms of this Plan are
guaranteed by Gilbert. Further, Komatsu will retain its Security Interest in the Collateral until it
is paid in full according to the Plan.

               (a)     Impairment

       Class 7 is impaired.

               (b)     Voting

        Because Class 7 is impaired, the Holder of the Class 7 Claim will be entitled to vote on
the Plan.

       5.8     Class 8. U.S. Small Business Administration Secured Claim

        The U.S. Small Business Administration’s Secured Claim will be deemed an Allowed
Secured Claim in the amount of $150,000 plus accrued interest at the non-default contract rate
less payments received prior to the Effective Date. The Debtor will pay the U.S. Small Business
Administration’s Secured Claim in accordance with the terms of its Loan Authorization and
Agreement dated as of June 20, 2020, which is and shall be deemed assumed and cured by this
treatment. The U.S. Small Business Administration’s Security Interest will pass through
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unaffected by the Chapter 11 Case and continue and be thereafter governed by applicable law.
For the avoidance of doubt, the Secured Claim of The U.S. Small Business Administration will
be reinstated and cured in its entirety according to the original terms of the Loan Authorization
and Agreement dated as of June 20, 2020, pursuant to section 1124 of the Bankruptcy Code.

               (a)     Impairment

       Class 8 is unimpaired.

               (b)     Voting

       Because Class 8 is unimpaired, the Holder of the Class 8 Claim will not be entitled to
vote on the Plan. Class 8 will be deemed to accept the Plan.

       5.9     Class 9. Caterpillar Financial Services Corporation Secured Claim

        Caterpillar Financial Services Corporation’s Secured Claim will be deemed an Allowed
Secured Claim in the amount of $155,294.88 plus accrued interest at the non-default contract rate
less payments received prior to the Effective Date under the terms of that certain agreement
between Debtor and Caterpillar Financial Services with a Contract Number 001-1032540-000
dated March 9, 2020. The Debtor will pay Caterpillar Financial Services Corporation’s Secured
Claim in full in regular quarterly cash payments commencing on the fifth day of the first
calendar quarter after the Effective Date over five years with interest at five percent. Further,
Caterpillar Financial Services Corporation will retain its Security Interest in the Collateral until it
is paid in full according to the Plan.

               (a)     Impairment

       Class 9 is impaired.

               (b)     Voting

        Because Class 9 is impaired, the Holder of the Class 9 Claim will be entitled to vote on
the Plan.

       5.10    Class 10. Road Machinery LLC/Financial Pacific Leasing Secured Claim

       Road Machinery LLC/Financial Pacific Leasing’s Secured Claim will be deemed an
Allowed Secured Claim in the amount of $70,586.22 plus accrued interest at the non-default
contract rate less payments received prior to the Effective Date in accordance with the terms of
its Equipment Finance Agreement dated as of December 14, 2020. The Debtor will pay Road
Machinery LLC/Financial Pacific Leasing’s Class 10 Secured Claim in full in regular quarterly
cash payments commencing on the fifth day of the first calendar quarter after the Effective Date
over five years with interest at five percent. The Debtor’s obligation to pay Road Machinery
LLC/Financial Pacific Leasing’s Class 10 Secured Claim under the terms of this Plan are
guaranteed by Gilbert. Further, Road Machinery LLC/Financial Pacific Leasing will retain its
Security Interest in the Collateral until it is paid in full according to the Plan.


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               (a)    Impairment

       Class 10 is impaired.

               (b)    Voting

        Because Class 10 is impaired, the Holder of the Class 10 Claim will be entitled to vote on
the Plan.

       5.11 Class 11. Crestmark Vendor Finance, a Division of Metabank, National
Association Secured Claim

        Crestmark Vendor Finance’s Secured Claim will be deemed an Allowed Secured Claim
in the amount of $145,906.94 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date in accordance with the terms of Equipment Finance
Agreement dated as of March 23, 2021. The Debtor will pay Crestmark Vendor Finance’s
Secured Claim in full in regular quarterly cash payments commencing on the fifth day of the first
calendar quarter after the Effective Date over five years with interest at five percent. The
Debtor’s obligation to pay Crestmark Vendor Finance’s Secured Claim under the terms of this
Plan are guaranteed by Gilbert. Further, Crestmark Vendor Finance will retain its Security
Interest in the Collateral until it is paid in full according to the Plan.

               (a)    Impairment

       Class 11 is impaired.

               (b)    Voting

        Because Class 11 is impaired, the Holder of the Class 11 Claim will be entitled to vote on
the Plan.

       5.12    Class 12. Deere & Company Secured Claim

       Deere & Company’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $73,310.74 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date in accordance with the terms of its Loan Contract – Security
Agreement dated as of November 23, 2021. The Debtor will pay Deere & Company’s Secured
Claim in full in regular quarterly cash payments commencing on the fifth day of the first
calendar quarter after the Effective Date over five years with interest at five percent. The
Debtor’s obligation to pay Deere & Company’s Secured Claim under the terms of this Plan are
guaranteed by Gilbert. Further, Deere & Company will retain its Security Interest in the
Collateral until it is paid in full according to the Plan.

               (a)    Impairment

       Class 12 is impaired.




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               (b)     Voting

        Because Class 12 is impaired, the Holder of the Class 12 Claim will be entitled to vote on
the Plan.

       5.13    Class 13. Ford Motor Credit Secured Claim

        Ford Motor Credit’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $38,937.65 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date in accordance with the terms of its Utah Vehicle Retail
Installment Contract dated as of June 22, 2021. The Debtor will pay Ford Motor Credit’s
Secured Claim in full in regular quarterly cash payments commencing on the fifth day of the first
calendar quarter after the Effective Date over five years with interest at five percent. The
Debtor’s obligation to pay Ford Motor Credit’s Secured Claim under the terms of this Plan are
guaranteed by Gilbert. Further, Ford Motor Credit will retain its Security Interest in the
Collateral until it is paid in full according to the Plan.

               (a)     Impairment

       Class 13 is impaired.

               (b)     Voting

        Because Class 13 is impaired, the Holder of the Class 13 Claim will be entitled to vote on
the Plan.

      5.14 Class 14. Amur Equipment Finance Corporation Service Company as
Representative

         Amur Equipment Finance Corporation’s Secured Claim will be deemed an Allowed
Secured Claim in the amount of $95,631.95 plus accrued interest at the non-default contract rate
less payments received prior to the Effective Date in accordance with the terms of its Equipment
Finance Agreement dated as of November 17, 2021. The Debtor will pay Amur Equipment
Finance Corporation’s Secured Claim in full in regular quarterly cash payments commencing on
the fifth day of the first calendar quarter after the Effective Date over five years with interest at
five percent. The Debtor’s obligation to pay Amur Equipment Finance Corporation’s Secured
Claim under the terms of this Plan are guaranteed by Gilbert. Further, Amur Equipment Finance
Corporation will retain its Security Interest in the Collateral until it is paid in full according to
the Plan.

               (a)     Impairment

       Class 14 is impaired.

               (b)     Voting

        Because Class 14 is impaired, the Holder of the Class 14 Claim will be entitled to vote on
the Plan.

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      5.15 Class 15. Amur Equipment Finance Corporation Service Company as
Representative

        Amur Equipment Finance Corporation’s Secured Claim will be deemed an Allowed
Secured Claim in the amount of $93,098.28 plus accrued interest at the non-default contract rate
less payments received prior to the Effective Date in accordance with the terms of its Equipment
Finance Agreement dated as of April 23, 2021. The Debtor will pay Amur Equipment Finance
Corporation’s Secured Claim in full in regular quarterly cash payments commencing on the fifth
day of the first calendar quarter after the Effective Date over five years with interest at five
percent. The Debtor’s obligation to pay Amur Equipment Finance Corporation’s Secured Claim
under the terms of this Plan are guaranteed by Gilbert. Further, Amur Equipment Finance
Corporation will retain its Security Interest in the Collateral until it is paid in full according to
the Plan.

               (a)     Impairment

       Class 15 is impaired.

               (b)     Voting

        Because Class 15 is impaired, the Holder of the Class 15 Claim will be entitled to vote on
the Plan.

       5.16    Class 16. Balboa Capital Secured Claim

        Balboa Capital’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $180,582.50 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date in accordance the Balboa Agreements. The Debtor will pay
Balboa Capital’s Secured Claim in full in regular quarterly cash payments commencing on the
fifth day of the first calendar quarter after the Effective Date over five years with interest at five
percent. The Debtor’s obligation to pay Balboa Capital’s Secured Claim under the terms of this
Plan are guaranteed by Gilbert. Further, Balboa Capital will retain its Security Interest in the
Collateral until it is paid in full according to the Plan.

               (a)     Impairment

       Class 16 is impaired.

               (b)     Voting

        Because Class 16 is impaired, the Holder of the Class 16 Claim will be entitled to vote on
the Plan.

       5.17    Class 17. Advantage Leasing and Associated Bank, N.A. Secured Claim

       Advantage Leasing and Associated Bank, N.A.’s Secured Claim will be deemed an
Allowed Secured Claim in the amount of $37,051.73 plus accrued interest at the non-default
contract rate less payments received prior to the Effective Date in accordance with the terms of
its Equipment Finance Agreement dated as of December 18, 2020. The Debtor will pay
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Advantage Leasing and Associated Bank, N.A.’s Secured Claim in full in regular quarterly cash
payments commencing on the fifth day of the first calendar quarter after the Effective Date over
five years with interest at five percent. The Debtor’s obligation to pay Advantage Leasing and
Associated Bank, N.A.’s Secured Claim under the terms of this Plan are guaranteed by Gilbert.
Further, Advantage Leasing and Associated Bank, N.A. will retain its Security Interest in the
Collateral until it is paid in full according to the Plan.

               (a)    Impairment

       Class 17 is impaired.

               (b)    Voting

        Because Class 17 is impaired, the Holder of the Class 17 Claim will be entitled to vote on
the Plan.

       5.18    Class 18. Ford Motor Credit Secured Claim

        Ford Motor Credit’s Secured Claim will be deemed an Allowed Secured Claim in the
amount of $41,441.00 plus accrued interest at the non-default contract rate less payments
received prior to the Effective Date in accordance with the terms of its Utah Vehicle Retail
Installment Contract dated as of April 21, 2021. The Debtor will pay Ford Motor Credit’s
Secured Claim in full in regular quarterly cash payments commencing on the fifth day of the first
calendar quarter after the Effective Date over five years with interest at five percent. The
Debtor’s obligation to pay Ford Motor Credit’s Secured Claim under the terms of this Plan are
guaranteed by Gilbert. Further, Ford Motor Credit will retain its Security Interest in the
Collateral until it is paid in full according to the Plan.

               (a)    Impairment

       Class 18 is impaired.

               (b)    Voting

        Because Class 18 is impaired, the Holder of the Class 18 Claim will be entitled to vote on
the Plan.

       5.19    Class 19. General Unsecured Claims

        Holders of Class 19 General Unsecured Claims will receive, in full satisfaction of their
Allowed General Unsecured Claims, beginning on the later of (a) the fifth day of the first
calendar quarter after the Effective Date or (b) the date that such General Unsecured Claim
becomes an Allowed General Unsecured Claim; payment in full of their Allowed General
Unsecured Claims with interest at the Federal Judgment Rate over a period of five years. Any
General Unsecured Claims that were guaranteed by Gilbert will, in addition to the treatment
above, be guaranteed by Gilbert to be paid in accordance with this treatment under the Plan. Any
General Unsecured Claims against Gilbert only (i.e., not against the Debtor), shall be paid by
Gilbert in accordance to the terms of this section 5.19.

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              (a)     Impairment

       Class 19 is impaired.

              (b)     Voting

        Because Class 19 is impaired, the Holders of Class 19 General Unsecured Claims will be
entitled to vote on the Plan.

       5.20   Class 20. Equity Interests

       On the Effective Date, all Equity Interests in the Debtor will be reinstated, and all
Holders will be entitled to all legal and equitable rights of such Holders under applicable law.

              (a)     Impairment

       Class 20 is unimpaired.

              (b)     Voting

       Because Class 20 is unimpaired is therefore deemed to accept the Plan. Nevertheless, the
Debtor will solicit acceptances of the Plan from the Holders of Class 20 Equity Interests.

       5.21   Class 21. GM Financial

        Holders of Allowed Secured Class 21 Claims shall be paid in accordance with (i) that
certain Retail Installment Contract and Security Agreement dated as of October 2, 2019, in the
principal amount of $31,628.20, for the purchase of a 2017 Ford F-150 XLT, VIN #
1FTEW1EP0HFA10455; and (ii) that certain Retail Installment Contract and Security
Agreement dated as of May 12, 2021, in the principal amount of $66,688.73, for the purchase of
a 2021 GMC Sierra 3500HD, VIN # 1GT49WEY5MF245629.

              (a)     Impairment

       Class 21 is unimpaired.

              (b)     Voting

       Because Class 21 is unimpaired is therefore deemed to accept the Plan. Nevertheless, the
Debtor will solicit acceptances of the Plan from the Holders of Class 21 Claims.

                                        ARTICLE 6
                                    DISPUTED CLAIMS

       6.1    Preservation of Debtor’s Rights

       After the Effective Date, the Debtor shall have and retain all rights and defenses the
Debtor had with respect to any Claim immediately prior to the Effective Date except with respect
to any Claim deemed Allowed under the Plan. If there are any Claims that are Allowed to be
resolved prior to the Effective Date by and through a final non-appealable order of the
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Bankruptcy Court via Bankruptcy Rule 9019 or otherwise, such ruling or order shall be binding
on all parties.

       6.2     Unperfected Security Interests

        Any security interests that were unperfected, inadequately perfected, or improperly
perfected as of the Petition Date are, in accordance with section 506(a) of the Bankruptcy Code,
properly treated hereunder as General Unsecured Claims against the Debtor or Gilbert, as
applicable. So long as this Plan remains in effect, the unperfected creditors are hereby enjoined
from taking any action to effect perfection of their security interests for any debt, including
interest or other charges arising therefrom, and they will be treated and accept in full satisfaction
for their Allowed Claims the treatment prescribed for General Unsecured Creditors hereunder.

       6.3     Amendments to Claims/Late Claims

        After the Confirmation Date, and except to the extent that the applicable Claims Bar Date
falls on a later date than the Confirmation Date, a Claim may not be filed or amended without the
authorization of the Bankruptcy Court and, even with such Bankruptcy Court authorization, may
be amended by the Holder of such Claim with the power solely to decrease, and not to increase,
the face amount thereof. Except as otherwise provided in this Section, any new or amended
Claim filed after the Confirmation Date shall be deemed Disallowed in full and expunged
without any action by the Joint Debtors, and the Joint Debtors will make no distribution on
account thereof.

       6.4     Objections to Claims

        An objection to the Allowance of a Claim shall be in writing and must be filed by a party
in interest or a Joint Debtor within one hundred and eighty (180) days after the Effective Date.
Any objection made by any party in interest who is not one of the Joint Debtors will be done at
that party’s own expense. A Joint Debtor will prosecute any objection brought by such Joint
Debtor until it is resolved by a final non-appealable order of the Bankruptcy Court unless the
applicable Joint Debtor (a) compromises and settles such objection to a Claim or (b) withdraws
such objection.

       6.5     Delay of Distribution on Disputed Claims

       No distribution will be made on account of any Disputed Claim unless and until such
Claim is Allowed.

       6.6     Settlement of Disputed Claims

       A Joint Debtor will have the power and authority to settle and compromise any Disputed
Claim subject to Bankruptcy Court approval under Rule 9019 of the Federal Rules of Bankruptcy
Procedure. For administrative convenience, the Joint Debtors will have authority to settle any
Disputed Claim in an Allowed Claim of less than $20,000.00 without approval of the Bankruptcy
Court.



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       6.7      Claims Estimation

        A Joint Debtor may at any time request that the Bankruptcy Court estimate any Claim
under section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party
previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection.

        The Bankruptcy Court shall retain jurisdiction to estimate any such Claim, including
during the litigation of any objection to any Claim or during the appeal relating to such
objection. In the event that the Bankruptcy Court estimates any such Claim, that estimated
amount shall constitute a maximum limitation on such Claim for all purposes under the Plan
(including for purposes of distributions), and the applicable Joint Debtor may elect to pursue any
supplemental proceedings to object to any ultimate distribution on such Claim.

                                ARTICLE 7
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       7.1      Assumed Executory Contracts and Unexpired Leases

        Except as otherwise set forth herein, as of the Effective Date, all executory contracts of
the Joint Debtors shall be deemed rejected unless such contract (a) was previously assumed or
rejected by a Joint Debtor; (b) previously expired or terminated pursuant to its terms or
applicable law; (c) is the subject of a motion to assume or reject filed by a Joint Debtor under
section 365 of the Bankruptcy Code pending as of the Effective Date; or (d) is specifically
designated on the following table of executory contracts to be assumed. The proposed cure
amount for an executory contract or unexpired lease that is assumed pursuant to the Plan shall be
zero dollars unless otherwise indicated in the following schedule. The applicable Joint Debtor
assumes only the following executory contracts or unexpired leases effective on the Effective
Date of this Plan, with the following cure amounts payable on the Effective Date of this Plan:


                                   Executory
                                   Contract or                 Related                  Cure
Row          Name of Party       Unexpired Lease              Equipment                Amount
                                Business Auto
       Navigators Insurance
                                Declarations dated
       Company                                        N/A                               $0.00
  1                             January 28, 2022
                                Commercial Lease
       KSG Enterprise LLC       Agreement dated
                                                      N/A                               $0.00
  2                             September 30, 2020
       Midwest Family           New Business
       Mutual Insurance         Declarations dated
                                                      N/A                               $0.00
  3    Company                  January 28, 2022
                                Common Policy
       Evanston Insurance
                                Declarations dated
       Company                                        N/A                               $0.00
  4                             January 28, 2022
                                Premium Finance
       Allegiance Premium
                                Security Agreement
       Finance                                        N/A                               $0.00
  5                             dated March 1, 2022

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                                  Executory
                                  Contract or                  Related                 Cure
Row      Name of Party          Unexpired Lease               Equipment               Amount
                               Rental Agreement
      Barco Rent-A Truck       dated November 24,      Ram 2500 Laramie, VIN
                                                                                        $0.00
 6                             2021                    #3C6UR5FL7NG118451
                               Pillar Common
      The Cincinnati
                               Policy Declarations
      Insurance Companies                              N/A                              $0.00
 7                             dated April 23, 2021
                               Workers
                               Compensation and
                               Employers Liability
      WCF Insurance            Insurance Policy
                                                       N/A                              $0.00
                               dated November 1,
                               2021, Policy Number
 8                             4012175
                               Workers
                               Compensation and
                               Employers Liability
      WCF Insurance            Insurance Policy
                                                       N/A                              $0.00
                               dated November 1,
                               2021, Policy Number
 9                             4021841
                               Loan Authorization
      U.S. Small Business
                               and Agreement dated
      Administration                                   N/A                              $0.00
10                             as of June 20, 2020
      LHoist North America     Contract for Services
11    of Virginia, Inc.        dated June 23, 2021     N/A                              $0.00
                               Master Subcontract
                               Agreement dated
      The Pike Company         December 16, 2021,
                                                       N/A                              $0.00
                               including Exhibit
12                             “AA” Work Order
                               Contractor
      CW The Isle, LLC         Agreement dated
                                                       N/A                              $0.00
13                             November of 2021
      Bill Miller Equipment    Rental/Purchase
      Sales                    Agreement dated July    CAT 773F Haul Truck, Serial
                                                                                        $0.00
14                             21, 2021                Number EED791*
      Bill Miller Equipment    Rental/Purchase
      Sales                    Agreement dated July    CAT 773G Haul Truck, Serial
                                                                                        $0.00
15                             20, 2021                Number J2S283*
                                                       CAT 772G Serial Number
                                                       CAT0772GHKEX00131*
                               Master Hire
                                                       CAT 772G Serial Number
                               Agreement dated July
      Iron Capital             30, 2021 and Master     CAT0772GCKEX00138*
                                                                                        $0.00
                               Hire Agreement
                               dated July 30, 2021     CAT 772G Serial Number
                                                       CAT0772GVKEX00139*

16                                                     CAT 772G Serial Number
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                                   Executory
                                   Contract or                  Related                 Cure
Row      Name of Party           Unexpired Lease               Equipment               Amount
                                                       CAT0772GJKEX00140*

                                                       2006 Caterpillar 613C Serial
                                Commercial Security    Number
      North Mill Credit Trust   Agreement dated        CAT0613CV8LJ02343
                                                                                         $0.00
                                January 5, 2021
                                                       2005 Caterpillar D9L Serial
17                                                     Number 14Y75463*
                                Equipment Lease
                                                       2021 Mega Mac MPT 12
      North Mill Credit Trust   Agreement dated
                                                       Mega Water Tower Series #         $0.00
18                              December 1, 2021       94409
                                Rental/Purchase
      Bill Miller Equipment
                                Agreement dated        CAT D10N Dozer, Serial
      Sales                                                                              $0.00
19                              November 23, 2020      Number 3SK641
                                Rental/Purchase
      Bill Miller Equipment
                                Agreement dated        Komatsu PC360 Excavator
      Sales                                                                              $0.00
20                              April 20, 2021         Serial Number A36147
                                Rental/Purchase
      Bill Miller Equipment
                                Agreement dated July   Komatsu PC360 Excavator,
      Sales                                                                              $0.00
21                              20, 2021               Serial Number A35517
                                Rental/Purchase
      Bill Miller Equipment
                                Agreement dated July   CAT 772H Haul Truck, Serial
      Sales                                                                              $0.00
22                              20, 2021               Number RBL784*

                                                       2001 Komatsu Hydraulic
                                                       Excavatory PC750LC-6
                                Equipment Finance      Serial # 10356
      Hanmi Bank                Agreement dated
                                                                                         $0.00
                                August 20, 2021        2020 Smart Construction
                                                       Products Base & Rover Hiper
                                                       VR Series Number 1449-
23                                                     11980
                                Master Equipment
      KLC Financial,            Finance Agreement
                                                       2002 Cat 988G Wheel Loader
      Inc./First Utah Bank      dated September 14,                                      $0.00
                                                       S/N #BNH0457
24                              2021
                                Equipment Lease
      Partners Capital Group,                          2021 Mega Water Tower 12k
                                Agreement dated
      Inc.                                             GAL Stock Number 132647           $0.00
25                              November 12, 2021      Serial Number 94409
                                Equipment Finance
      Pawnee Leasing/
                                Agreement dated
      Smarter Equipment                                1979 CAT 637D Serial
                                December 10, 2020                                        $0.00
      Finance LLC                                      Number 27W1290
26                              and
                                Equipment Lease
      Crossroads Equipment                             2014 Freightliner Cascadia
                                Agreement dated
      Lease & Finance                                  Ca 125DC VIN #                    $0.00
27                              October 4, 2019        3AKJGED1XEFSV7665

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                                   Executory
                                   Contract or                  Related                  Cure
Row          Name of Party       Unexpired Lease               Equipment                Amount
                                Installment Loan
       Headway Capital, LLC     dated December 7,
                                                        N/A                              $0.00
 28                             2021
       The United States of     Contract for the Sale
       America through the      of Mineral Materials
       Bureau of Land           dated January 29,       N/A                              $0.00
 29    Management               2021

* Per the terms of this Plan, this equipment will be sold in an auction that is anticipated to
be during September of 2022 via the Equipment Sale Motion.

     ANY HOLDER OBJECTING TO THE ABOVE CURE AMOUNTS OR
ASSUMPTION OF SUCH EXECUTORY CONTRACT OR UNEXPIRED LEASE MUST
FILE AN OBJECTION IN THE BANKRUPTCY COURT AND SERVE IT ON THE
APPLICABLE JOINT DEBTOR PRIOR TO THE ENTRY OF THE CONFIRMATION
ORDER.

        Any counterparty to the above executory contracts or unexpired leases who fails to file an
objection to the proposed cure amounts or assumption prior to the entry of the Confirmation
Order will be deemed to have accepted such cure amount in full satisfaction and cure of all
defaults and other amounts due up to and including the Petition Date, and will have no further
claim against the applicable Joint Debtor therefor. Further, such counterparties are deemed to
accept the assumption of their executory contract or unexpired lease by the applicable Joint
Debtor and will hereby waive all rights and defenses to assumption, adequate assurance of future
performance, or otherwise.

       7.2      Rejected Executory Contracts and Unexpired Leases

       The applicable Joint Debtor will be conclusively deemed to have rejected all executory
contracts and unexpired leases not expressly assumed under Section 7.1 above upon entry of the
Confirmation Order. A Proof of Claim arising from the rejection of an executory contract or
unexpired lease under this section must be filed no later than 10 days after the entry of the
Confirmation Order.

                                   ARTICLE 8
                     MEANS FOR IMPLEMENTATION OF THE PLAN

       8.1      Re-vesting of Property of the Estate

        On the Effective Date, all assets of the Joint Debtors’ estates, including all real and
personal property, all Debtor Causes of Action, interests, claims, choses in action, and rights
under any contracts (executory or otherwise, unless rejected under Article 7 of this Plan), against
any person will re-vest and be transferred to the applicable Joint Debtor after the Effective Date.
The applicable Joint Debtor will remain in possession of all its other assets as disclosed in this
Plan, including its business, operations, and “know-how,”, and will continue to procure contracts
and service such contracts and agreements through its existing target markets and target
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customers, while simultaneously seeking to increase its profitability by effectively servicing,
retaining and growing its contracted projects.

       8.2     Continued Corporate Existence of Debtor

         From and after the Effective Date, the Debtor shall (a) exist and continue to exist as a
separate legal entity, (b) with all powers in accordance with the laws of the State of Nevada, and
(c) shall be governed by the Debtor’s pre-Petition Date amended operating agreement dated
August 30, 2019. The Debtor shall have all of the powers of such a legal entity under applicable
law and without prejudice to any right to alter or terminate such existence (whether by merger,
conversion, dissolution or otherwise) under applicable law. Beginning on and after the Effective
Date, each of the Joint Debtors may freely enter into contracts, operate its/his business and may
use, acquire, and dispose of property and compromise, or settle any Claims that may arise
beginning on or after the Effective Date, all without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those
restrictions expressly imposed by the Plan or the Confirmation Order.

       8.3     Retention and Re-vesting of Debtor Causes of Action

        The Joint Debtors will retain (or hereby are given) standing and authority to prosecute all
Debtor Causes of Action. Currently, the Joint Debtors have known Debtor Causes of Action
against: (1) J.R. Simplot Company and Fisher Sand & Gravel Co. over unpaid work provided by
SoNev; (2) (2) The Pike Company, Inc., currently pending as Adversary Number: 22-02035; and
(3) RPS Campbell Companies d/b/a Solutions Financial Services, Wheeler Machinery Co., or
any affiliate or subsidiary for breach of contract for failure to maintain SoNev’s machines. The
Joint Debtors hereby expressly reserve and will retain or be re-vested with all Debtor Causes of
Action, and, therefore, in each case, no preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppels (judicial,
equitable or otherwise) or laches shall apply to such Debtor Causes of Action upon or after the
entry of the Confirmation Order or Effective Date based on the Plan or the Confirmation Order,
except where such Debtor Causes of Action have been expressly released in the Plan or any final
non-appealable order from the Bankruptcy Court. In accordance with section 1123(b) of the
Bankruptcy Code, the applicable Joint Debtor may enforce all rights to commence and pursue
any Debtor Causes of Action, and the applicable Joint Debtor’s rights to commence, prosecute,
or settle any such Debtor Causes of Action shall be preserved, notwithstanding entry of the
Confirmation Order or the occurrence of the Effective Date. No person may rely on the absence
of a specific reference in the Plan or the Disclosure Statement to any Debtor Cause of Action
against him, her, or it as any indication that the Joint Debtors will not pursue any available
Debtor Causes of Action against such person. In accordance with section 1123(b)(3) of the
Bankruptcy Code, any Debtor Causes of Action that a Joint Debtor may hold against any person
shall vest in the applicable Joint Debtor. The applicable Joint Debtor may bring all such Debtor
Causes of Action in the Bankruptcy Court or such other court of competent jurisdiction in its sole
discretion. The Joint Debtors will have and are hereby given authority to settle all Debtor
Causes of Action without prior approval of the Bankruptcy Court.




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       8.4    Wherewithal to Pay Claims under the Plan and Reorganization Efforts

        The cash necessary to make distributions by the Joint Debtors to each Class of Claims
consists of (a) cash on hand, (b) cash to be earned from the continued business operations of the
Debtor, and (c), where applicable, cash to be earned from Gilbert’s role as a manager of the
Debtor and from his other business income, all as set forth in month-by-month detail in the
Debtor’s Best Efforts Analysis and Operating Budget attached as Exhibit C hereto.

      The Joint Debtors will provide additional testimony and evidence supporting their
wherewithal to fulfill their obligations under this Plan at the Confirmation Hearing.

       8.5    Cash Flow and Best Efforts Test

        The Debtor, by operating its business, has Projected Disposable Income for the next five
years following the Effective Date as set forth in the Best Efforts Analysis and Operating Budget
attached as Exhibit C hereto. The Best Efforts Analysis and Operating Budget is based on the
Debtor’s pre-Petition Date operational history and cash flow, its post-Petition Date
reorganizational efforts and operating history as reflected in the Monthly Operating Reports,
which are filed on the docket of the Bankruptcy Court and incorporated herein by reference, the
experience of the Debtor’s management, and the ongoing fixed obligations assumed under the
Plan (primarily to the Secured Creditors). The Best Efforts Analysis and Operating Budget is
attached as Exhibit B hereto.

       The Best Efforts Analysis and Operating Budget show that, after payment of the
expenditures necessary for the continuation, preservation, or operation of the business of the
Debtor, including the ongoing fixed obligations assumed under the Plan (primarily to the
Secured Creditors), the Projected Disposable Income of the Debtor over the five-year period
following the Effective Date is sufficient to pay all Claims in full on the schedule set forth in
Error! Reference source not found. of the Plan. As set forth above in Section 8.4, the Debtor
will pay all claims in full with interest under the Plan.

       Accordingly, the Debtor under this Plan will distribute cash or make regular monthly
payments of a value as of the Effective Date of the Plan that are not less than the lesser of the
Allowed amounts of all Claims and the Projected Disposable Income of the Debtor for the five-
year period after the Effective Date in accordance with section 1191(c)(2)(B) of the Bankruptcy
Code.

      The Debtor will provide additional evidence supporting the calculation of its Projected
Disposable Income at the Confirmation Hearing.

        Gilbert, in his role as Manager of the Debtor and from his other business interests, has
Projected Disposable Income for the next five years following the Effective Date as set forth in
the Best Efforts Analysis and Operating Budget attached as Exhibit C hereto. Because Gilbert’s
income is intertwined with the Debtor’s successful operations, Gilbert incorporates the Debtor’s
projections, Operating Budget, and Best Efforts Analysis as evidence of his ability to make the
payments called for under this Plan. As set forth in this Plan, Gilbert will: (a) guarantee all
Claims paid by the Debtor under this Plan for which he was also obligated (as a guarantor) prior
to the Petition Date; and (b) distribute cash or make regular monthly payments of a value as of
the Effective Date of the Plan that are not less than the lesser of the Allowed amounts of all
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Claims against Gilbert and the Projected Disposable Income of the Debtor for the five-year
period after the Effective Date in accordance with section 1191(c)(2)(B) of the Bankruptcy Code.

       8.6    Post-Effective Date Management and Professionals

        In accordance with section 1129(a)(5) of the Bankruptcy Code, from and after the
Effective Date, the initial officers and directors of the Debtor will be as follows:

                          Name                                    Position
       Keith Gilbert                            Manager
       Patricia Gilbert                         Lead Estimator and Project Manager
       Autumn Arnold                            Chief Financial Officer

        Each of the foregoing officers of the Debtor will be employed by the Debtor after the
Effective Date, under the same or similar terms and conditions of employment that each
employee had operated under prior to the Petition Date.

        The Debtor will retain Parsons Behle & Latimer as counsel after the Confirmation Date
to assist the Debtor in any bankruptcy-related matters and such other matters as are appropriate.
Parsons Behle & Latimer will continue to charge its customary rates as agreed upon from time to
time by the Debtor and Parsons Behle & Latimer, but neither Parsons Behle & Latimer nor the
Debtor will be required to submit fee applications or otherwise be employed under the
Bankruptcy Code, and the Debtor may pay Parsons Behle & Latimer without notice, a hearing,
or approval by the Bankruptcy Court. Gilbert may retain counsel of his choosing after the
Confirmation Date to assist him in any bankruptcy-related matters and such other matters as are
appropriate, and such counsel may charge its customary rates and be paid accordingly as agreed
upon by Gilbert and such counsel, without being required to submit fee applications or otherwise
be employed under the Bankruptcy Code.

       After the Confirmation Date, the Debtor will hire, fire, retain, or employ such other
professionals and contractors as it deems advisable in the reasonable exercise of its business
judgment without the need to seek approval of the Bankruptcy Court. The Debtor will
compensate its professionals for any services provided after the Confirmation Date in the
ordinary course of its business without the need for Bankruptcy Court approval.

                                 ARTICLE 9
                    MISCELLANEOUS AND GENERAL PROVISIONS

       9.1    Definitions and Rules of Construction

        Except as otherwise provided in this Plan, the definitions and rules of construction set
forth in sections 101 and 102 of the Bankruptcy Code apply when terms defined or construed in
the Bankruptcy Code are used in this Plan. Interest shall be calculated at the specified rate in
simple interest accruing on a yearly basis only on outstanding principal.




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         9.2   Severability

        If any provision in this Plan is determined to be unenforceable, then such determination
will in no way limit or affect the enforceability and operative effect of any other provision of this
Plan.

         9.3   Binding Effect

       The rights, obligations, limitations, and injunctions of, for, or against any person or entity
named or referred to in this Plan will be binding upon and will inure to the benefit of the
successors or assigns of such person or entity.

         9.4   Controlling Law

       Unless a different rule of law or procedure is supplied by federal law (including the
Bankruptcy Code or the Federal Rules of Bankruptcy Procedure) or in the subject instrument, the
laws of the State of Utah govern this Plan and any agreements, documents, and instruments
executed in connection with this Plan.

         9.5   Retention of Bankruptcy Court Jurisdiction

        The Bankruptcy Court will retain and have exclusive jurisdiction over any matter arising
under the Bankruptcy Code arising in or related to the Joint Debtors’ Chapter 11 Cases or the
Plan, or that relates to any of the following:

                       (i)    consistent with Article 7, hereof, to resolve any matter related to
the assumption or rejection of any executory contract or unexpired lease to which a Joint Debtor
is a party or with respect to which a Joint Debtor may be liable and to hear and determine any
Claim arising therefrom;

                   (ii)    to enter such orders as may be necessary or appropriate to
implement or consummate the provisions of the Plan;

                       (iii)   to determine all motions, adversary proceedings, applications, and
contested or litigated matters related to the Joint Debtors’ Chapter 11 Cases or arising therefrom,
that may be pending on the Effective Date or that, pursuant to the Plan, may be instituted by a
Joint Debtor prior to or after the Effective Date, including resolution of all Debtor Causes of
Action, including Avoidance Actions;

                     (iv)    to ensure that distributions to Holders of Allowed Claims are
accomplished as provided in the Plan;

                       (v)     to hear and determine any timely objection to a Claim or Proof of
Claim;

                     (vi)    to enter and implement such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, revoked, modified, reversed, or vacated;



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                      (vii) to issue such orders in aid of execution of the Plan, to the extent
authorized by section 1142 of the Bankruptcy Code;

                      (viii) to consider any modification of the Plan, to cure any defect or
omission, or reconcile any inconsistency in any order of the Bankruptcy Court, including the
Confirmation Order;

                      (ix)   to hear and determine all applications for awards of compensation
for services rendered and reimbursement of expenses incurred by the Joint Debtors’
professionals, the Subchapter V Trustee, and any other timely filed applications filed with the
Court for allowance of Administrative Expense Claims;

                         (x)      to hear and determine disputes arising in connection (i) with or
relating to the Plan; (ii) the interpretation, implementation, or enforcement of the Plan; or (iii) the
extent of any person’s obligations incurred in connection with or released under the Plan; but
notwithstanding the preceding, if the Court’s potential resolution of any issues arising under this
subsection (x) is otherwise governed by an express enforcement or dispute resolution provision
in an agreement or contract that already exists by and between a Joint Debtor and such party,
then such provisions should govern;

                    (xi)   to issue injunctions, enter and implement other orders, or take such
other actions as may be necessary or appropriate to restrain interference by any entity with
consummation or enforcement of the Plan;

                        (xii) to determine any other matter that may arise in connection with or
that is related to the Plan, the Confirmation Order, or any contract, instrument, release, or other
agreement or document created in connection therewith, unless such agreements or documents
contain express enforcement or dispute resolution provisions, in which case, such provisions
should govern;

                       (xiii) to hear and determine matters concerning state, local, and federal
taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including,
without limitation, any matter relating to tax refunds, and any request by a Joint Debtor for an
expedited determination of tax liability under section 505(b) of the Bankruptcy Code with
respect to the applicable Joint Debtor);

                     (xiv) to hear any other matter or for any purpose specified in the
Confirmation Order that is not inconsistent with the Bankruptcy Code; and

                       (xv)    to enter a final decree closing the Chapter 11 Case.

       9.6     Inconsistencies

        In the event of any inconsistency between and among the Plan, the Confirmation Order,
or the Plan Supplement, the documents shall control in the following order: (1) the Confirmation
Order; (2) the Plan; and (3) the Plan Supplement.



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       9.7     Unclaimed Distributions

        For any property to be distributed pursuant to the Plan, if such distributed property is not
claimed by the distributee within one year after the payment, then such distributed property shall
be returned to the applicable Joint Debtor and become the property of such Joint Debtor free and
clear of any claims of any person.

                                   ARTICLE 10
                         DISCHARGE AND RELATED MATTERS

       10.1    Discharge of Claims

        If the Plan is confirmed under section 1191(a) of the Bankruptcy Code, on the
Confirmation Date, except as specifically provided in the Plan, the Joint Debtors and all of their
property will be discharged from any interest, claim, or debt that arose before confirmation of the
Plan, subject to the occurrence of the Effective Date, to the full extent specified in section
1141(d)(1)(A) of the Bankruptcy Code as made applicable by 1192 of the Bankruptcy Code,
except that the Joint Debtors will not be discharged of any debt (a) imposed by the Plan; (b) of a
kind specified in section 1141(d)(6)(A) of the Bankruptcy Code if a timely complaint is filed in
accordance with Rule 4007(c) of the Federal Rules of Bankruptcy Procedure; or (c) of a kind
specified in § 1141(d)(6)(B) of the Bankruptcy Code. Pending execution of this Plan and unless
(i) the Court has otherwise expressly ordered; or (ii) this Plan otherwise expressly provides, all
creditors will continue to be stayed from proceeding against the Joint Debtors or their assets on
account of any debt arising prior to the Effective Date.

       If the Plan is confirmed under section 1191(b) of the Bankruptcy Code, then the Joint
Debtors will be discharged as set forth in section 1192 of the Bankruptcy Code on the date that
the appliable Joint Debtor makes its final payments under the Plan.

       10.2    Exculpation

        Neither the Joint Debtors, the Subchapter V Trustees, nor any of their respective officers,
directors, employees, representatives, professionals, or agents, will have or incur any liability to
any party in interest or any other person for any act or omission in connection with or arising out
of the Chapter 11 Cases, including, without limitation, prosecuting confirmation of this Plan,
consummation of this Plan, or the administration of this Plan or the property to be distributed
under this Plan, except for gross negligence, willful misconduct, or fraud.

                                       ARTICLE 11
                                  MODIFICATION OF PLAN

       Subject to the restrictions on modifications set forth in section 1193 of the Bankruptcy
Code, the Joint Debtors reserve the right to alter, amend or modify the Plan before or after its
substantial consummation. Prior to the Effective Date, the Joint Debtors may make appropriate
technical adjustments and modifications to the Plan without further order or approval of the
Bankruptcy Court. Holders of Claims that have accepted the Plan shall be deemed to have
accepted the Plan, as amended, modified, or supplemented, if the proposed amendment,
modification, or supplement does not materially and adversely change the treatment of the Claim
of such Holder; provided, however, that any Holders of Claims who were deemed to accept the
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Plan because such Claims were unimpaired shall continue to be deemed to accept the Plan only
if, after giving effect to such amendment, modification, or supplement, the treatment of such
unimpaired Claims continue to be unimpaired.

                                      ARTICLE 12
                                 CONFIRMATION OF PLAN

       The Joint Debtors respectfully request Confirmation of the Plan under section 1191(a) of
the Bankruptcy Code. In the event that any impaired class of Claims (or class of Claims that the
Court determines is impaired) shall fail to accept, or be deemed to reject, the Plan in accordance
with section 1191(a) of the Bankruptcy Code, and/or no impaired class votes to accept the Plan,
then the Joint Debtors hereby request that the Bankruptcy Court confirm the Plan in accordance
with section 1191(b) of the Bankruptcy Code and/or amend the Plan, including an amendment as
needed at the Confirmation Hearing. In such event, the Joint Debtors respectfully request
Confirmation of the Plan under section 1191(b) of the Bankruptcy Code.

                                      ARTICLE 13
                                 REMEDIES UPON DEFAULT

        If a Joint Debtor becomes delinquent in a duty or obligation under the Plan, then the
affected party in interest shall provide written notice of such default to the applicable Joint
Debtor and its counsel. The applicable Joint Debtor shall thereafter have 20 business days from
receipt of said notice in which to cure the default and, if so cured, will not be considered to be in
default. In the event such default remains uncured for the requisite 20 days, then the affected
Creditor or Creditors shall be required to bring the issue of default before the Bankruptcy Court,
which shall have exclusive jurisdiction over the dispute and remedy. In the event the applicable
Joint Debtor is deemed to have breached its obligations under this Plan to the affected party in
interest, the Court may fashion a remedy with respect to such party; provided, however, that such
default shall not be considered a default with respect to all other parties in interest under this
Plan, and the provisions of this Plan, including the applicable Joint Debtor’s discharge and any
injunctions contained herein shall remain in effect with respect to all other parties unless
otherwise ordered by the Court.




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      Respectfully submitted,



Dated: August 24, 2022.                         SoNev Construction LLC


                                                /s/ Keith Gilbert
                                         By:         Keith Gilbert
                                                     Founder, Manager
•
•
•
Dated: August 24, 2022.                         PARSONS BEHLE & LATIMER


                                                /s/ Brian M. Rothschild
                                         By:          BRIAN M. ROTHSCHILD

                                                Attorneys for SoNev Construction LLC



Dated: August 24, 2022.

                                                /s/ Keith Gilbert
                                         By:         Keith Gilbert

•
•
•
Dated: August 24, 2022.                         COHNE KINGHORN, P.C.

                                                /s/ Jeffrey L. Trousdale
                                         By:          JEFFREY L. TROUSDALE

                                                Attorneys for Keith Gilbert




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                                  LIST OF EXHIBITS



Ex No.                                   Document Name
  A    Debtor’s Liquidation Analysis
  B    Gilbert’s Liquidation Analysis
  C    Debtor’s Best Efforts Analysis and Operating Budget




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                            EXHIBIT A

                    DEBTOR’S LIQUIDATION ANALYSIS




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Liquidation Analysis - SoNev Construction, LLC


                                                                      SoNev Construction, LLC                          Potential Recovery
($ in 0s)                                                                    3/31/2022           Recovery Estimate %                   Recovery Estimate $


Assets                                                        Notes       Net Book Value        Low     Midpoint   High          Low         Midpoint        High


Assets & Gross Liquidation Proceeds
Cash on Hand                                                  A              218,212            100%     100%      100%        218,212        218,212    218,212
Joint Checks Cash                                                               0               80%       95%      100%           0              0             0
Accounts Receivable                                           B              1,959,616          40%       50%      70%         783,846        979,808    1,371,731
Prepaid Expenses & Other Current Assets                       C               4,862             100%     100%      100%         4,862          4,862         4,862


Current Asset Total                                                          2,182,690          63%       76%      100%       1,006,920      1,202,882   1,594,805

Fixed Assets
Land                                                          D               10,621            60%       70%      80%          6,373          7,435         8,497
Machinery & Equipment                                         E              4,691,331          40%       60%      75%        1,876,532      2,814,799   3,518,498
Tractor                                                       E               343,938           30%       50%      70%         103,182        171,969    240,757
Trailers                                                      E               143,179           50%       60%      70%          71,590        85,908     100,226
Vehicles                                                      E               386,891           20%       40%      50%          77,378        154,757    193,446
Small Tools                                                   E               62,151            40%       60%      70%          24,861        37,291         43,506
Office Furniture & Fixtures                                   E               16,703            20%       30%      40%          3,341          5,011         6,681
Total Property & Equipment, Net of Accumulated Depreciation                  5,654,816          53%       80%      100%       2,163,256      3,277,169   4,111,611
Total Gross Liquidation Proceeds                                             7,837,506          56%       79%      100%       3,170,176      4,480,051   5,706,416


Wind Down/Chapter 7 Liquidation                                                                                                 High         Midpoint         Low
Corporate Wind-down Costs                                     F                                                               1,153,836       692,302    576,918
Chapter 7 Trustee Fees                                        G                                                                119,705        159,002    195,792
Chapter 7 Trustee Legal & Financial Advisors                  H                                                                240,000        144,000    120,000
Total Net Liquidation Proceeds Available for Distribution                                                                     1,656,635      3,484,748   4,813,705
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Waterfall Analysis
 Proceeds Available for Priority Claims                                                           1,656,635     3,484,748   4,813,705

 Total Priority Claims                              I                                              64,436        64,436      64,436
 $ Recovery to Priority Claimants                                                                  64,436        64,436      64,436
 % Recovery to Priority Claimants                                                                   100%          100%       100%


 Proceeds Available for Secured Claims                                                            1,592,199     3,420,312   4,749,269


 Total Secured Claims                               J                                             2,448,394     2,448,394   2,448,394
 $ Recovery to Secured Claimants                                                                  1,592,199     2,448,394   2,448,394
 % Recovery to Secured Claimants                                                                    65%           100%       100%


 Proceeds Available for Administrative Claims                                                           0        971,918    2,300,875

 Total Administrative Claims                        K                                                   0          0           0
 $ Recovery to Administrative Claimants                                                                 0          0           0
 % Recovery to Administrative Claimants                                                              0%            0%          0%

 Proceeds Available for General Unsecured Claims                                                        0        971,918    2,300,875

 Total General Unsecured Claims                     L                                             5,265,303     5,265,303   5,265,303
 $ Recovery to Secured Claimants                                                                        0        971,918    2,300,875
 % Recovery to Secured Claimants                                                                     0%           18%         44%
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                                  EXHIBIT B

                         GILBERT’S LIQUIDATION ANALYSIS




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Liquidation Analysis - Keith Gilbert


                                                                      Keith Gilbert                          Potential Recovery
($ in 0s)                                                              5/31/2022       Recovery Estimate %                    Recovery Estimate $


Assets                                                       Notes   Net Book Value   Low     Midpoint   High          Low           Midpoint        High


Assets & Gross Liquidation Proceeds
Cash on Hand                                                 A           9,941        100%     100%      100%         9,941            9,941         9,941
Investments                                                  B             0          100%     100%      100%           0                0            0
Current Asset Total                                                      9,941        0%        0%       0%           9,941            9,941         9,941

Fixed Assets
Commercial Property                                          D          785,000       40%       60%      75%         314,000          471,000       588,750
Vehicles                                                     E          102,302       20%       40%      50%          20,460          40,921        51,151
Equipment                                                    E          822,470       20%       40%      50%         164,494          328,988       411,235
Recreational Vehicles                                        E           9,000        20%       40%      50%          1,800            3,600         4,500
Household Assets                                             E           1,800        40%       60%      70%           720             1,080         1,260
Office Assets                                                E           16,703       20%       30%      40%          3,341            5,011         6,681
Total Property & Equipment, Net of Accumulated Depreciatin             1,737,275      0%        0%       0%          504,815          850,600   1,063,577
Total Gross Liqidation Proceeds                                        1,747,216      0%        0%       0%          514,756          860,541   1,073,518


Wind Down/Chapter 7 Liquidation                                                                                        High          Midpoint        Low
Coprorate Wind-down Costs                                    F                                                        33,332          19,999        16,666
Chapter 7 Trustee Fees                                       G                                                        40,043          50,416        56,806
Chapter 7 Trustee Legal & Financial Advisors                 H                                                        80,000          48,000        40,000
Total Net Liquidation Proceeds Available for Distirbution                                                            361,381          742,125       960,047


Waterfall Analysis
  Proceeds Available for Secured Claims                                                                              361,381          742,125       960,047

  Total Secured Claims -Class 1                              I                                                        76,246          76,246        76,246
  $ Recovery to Secured Claimants                                                                                     76,246          76,246        76,246
  % Recovery to Secured Claimants                                                                                     100%             100%          100%
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Proceeds Available for Administrative Claims                                                       285,135        665,879     883,801
Total Administrative Claims -Class 2                J                                                   0            0           0
$ Recovery to Secured Claimants                                                                         0            0           0
% Recovery to Secured Claimants                                                                         0%           0%          0%


Proceeds Available for Priority Unsecured Claims                                                   285,135        665,879     883,801

Total Priority Unsecured Claims -Class3             K                                             3,868,283       3,868,283   3,868,283
$ Recovery to Secured Claimants                                                                    285,135        665,879     883,801
% Recovery to Secured Claimants                                                                         7%          17%         23%

Proceeds Available for General Unsecured Claims                                                         0            0           0
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                                  EXHIBIT C

           DEBTOR’S BEST EFFORTS ANALYSIS AND OPERATING BUDGET




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SoNev Construction, LLC
Report of Cash Receipts and Disbursements
December 31, 2022




                                                    May-22         June-22         July-22               August-22    September-22       October-22    November-22    December-22        Total 2022
Cash Basis
Beginning Cash Balance                          $     115,839 $       81,790 $       262,807 $              401,907 $      516,137 $         494,523 $     438,442 $      372,787 $             115,839

Receipts
Equipment Sale Proceeds (unencumbered)
Receipts                                        $    917,673   $ 1,219,030     $ 1,041,452           $      934,221   $   986,579    $      565,910    $   449,060    $   416,800    $      11,018,859
DIP Financing                                   $        -     $       -       $       -             $          -     $       -      $          -      $       -      $       -      $             -
Retention 10%                                                                                                         $   (98,658)   $      (56,591)   $   (44,906)   $   (41,680)   $      (1,101,886)
Contingency 10%                                 $        -     $         -     $             -       $          -     $   (49,329)   $      (28,296)   $   (22,453)   $   (20,840)   $        (550,943)
Transfer In
TOTAL Receipts                                  $     917,673 $     1,219,030 $     1,041,452 $             934,221 $      838,592 $         481,024 $     381,701 $      354,280 $            9,366,030

Project Disbursments
    Direct Labor                                     426,985         410,621        350,805                 314,685       332,321           190,622        151,262        140,396             1,890,712
    Bulk Fuel                                         44,344          76,991         65,776                  59,003        62,310            35,742         28,362         26,324               354,509
    Tractor & Trailer Repair & Maintenance            23,343          54,576         46,626                  41,825        44,169            25,336         20,105         18,660               251,298
    Equipment Repairs & Maintenance                   21,523         107,660         91,977                  82,506        87,130            49,979         39,659         36,810               495,721
    Small Equipment & Tools (Expense)                      -             367            314                     281           297               170            135            126                 1,691
    Car & Truck                                            -          21,814         18,637                  16,718        17,655            10,127          8,036          7,459               100,444
    Contractors                                       14,663          15,783         13,484                  12,096        12,774             7,327          5,814          5,396                72,674
    Equipment Rental                                 116,318         153,983        131,552                 118,007       124,620            71,483         56,723         52,648               709,017
    Equipment Transportation                           1,670           2,755          2,354                   2,111         2,230             1,279          1,015            942                12,685
    Job Supplies                                       5,934          10,905          9,317                   8,358         8,826             5,063          4,017          3,729                50,215
    Permits                                              946             578            493                     443           467               268            213            197                 2,659
Total Project Disbursments                           655,725         856,033        731,334                 656,033       692,800           397,396        315,341        292,687             3,941,625
Operating Disbursements                                                                                                                           -              -              -                     -
    Bank Charges & Fees                                  131             593             506                    454           480               275            218            203                12,900
    Dues & Subscriptions                               2,797           1,682           1,437                  1,289         1,361               781            620            575                16,181
    Recruiting and Retention                             820             173             148                    133           140                80             64             59                 1,867
    Rent & Lease                                           -           6,951           5,938                  5,327         5,625             3,227          2,561          2,377               118,960
    Utilities                                          2,532           7,100           6,066                  5,441         5,746             3,296          2,615          2,428                64,075
    Shipping, Freight & Delivery                         106               2               2                      2             2                 1              1              1                 3,062
    Taxes & Licenses                                       -           1,888           1,613                  1,447         1,528               877            696            646                34,813
    Training                                               -             309             264                    237           250               143            114            106                 2,501
    Health Insurance - 1001                           19,000           7,679           6,560                  5,885         6,214             3,565          2,829          2,625               151,677
    Insurance                                         27,796          33,106          28,284                 25,371        26,793            15,369         12,196         11,319               353,619
    Interest Charge                                      218           2,039           1,742                  1,563         1,650               947            751            697                27,071
    Office Supplies & Software                           368           1,812           1,548                  1,389         1,466               841            667            620                16,251
    Penalties                                              -             927             792                    710           750               430            341            317                 8,297
    Legal & Professional Services                     20,078          14,470          12,362                 11,089        11,711             6,717          5,330          4,947               133,616
    Meal & Lodging                                       448             642             548                    492           519               298            236            219                 5,406
    Travel                                               244             890             760                    682           720               413            328            304                 7,726
 Total Operating Costs                          $     74,539   $      80,262   $      68,570         $       61,510   $    64,957    $       37,260    $    29,567    $    27,442    $          958,022

Capex

Secured Creditor Payments
Advantage Leasing                               $      1,372   $       1,372   $      1,372          $        1,372   $     1,372    $        1,372    $     1,372    $     1,372    $           1,372
Amur GPS System                                 $      3,544   $       3,544   $      3,544          $        3,544   $     3,544    $        3,544    $     3,544    $     3,544    $           3,544
Balboa Capital                                  $        942   $         942   $        942          $          942   $       942    $          942    $       942    $       942    $             942
Bill Miller -D10N Dozer                         $     12,800   $      12,800   $     12,800          $       12,800   $    12,800    $       12,800    $    12,800    $    12,800    $          12,800
Bill Miller -773G                               $     20,000   $      20,000   $     20,000          $       20,000   $    20,000    $       20,000    $    20,000    $    20,000    $          20,000
Bill Miller -PC360                              $      9,240   $       9,240   $      9,240          $        9,240   $     9,240    $        9,240    $     9,240    $     9,240    $           9,240
Bill Miller- PC360 6147                         $      8,500   $       8,500   $      8,500          $        8,500   $     8,500    $        8,500    $     8,500    $     8,500    $           8,500
Caterpillar Financial Services                  $      9,501   $       9,501   $      9,501          $        9,501   $     9,501    $        9,501    $     9,501    $     9,501    $           9,501
Crestmark Finance                               $     13,057   $      13,057   $     13,057          $       13,057   $    13,057    $       13,057    $    13,057    $    13,057    $          13,057
Deere & Company                                 $      1,306   $       1,306   $      1,306          $        1,306   $     1,306    $        1,306    $     1,306    $     1,306    $           1,306
Financial Pacific Leasing                       $      1,642   $       1,642   $      1,642          $        1,642   $     1,642    $        1,642    $     1,642    $     1,642    $           1,642
Ford Credit                                     $        781   $         781   $        781          $          781   $       781    $          781    $       781    $       781    $             781
Komatsue Financial                                    14,900          14,900         14,900                  14,900        14,900            14,900         14,900         14,900               14,900
Southwest Plumbing Contractual Agreement                   -               -              -                       -             -                 -              -              -                    -
Sterns Bank-637D                                       1,010           1,010          1,010                   1,010         1,010             1,010          1,010          1,010                1,010
Sterns Bank-                                           3,122           3,122          3,122                   3,122         3,122             3,122          3,122          3,122                3,122
US Small Business Administration                                                        731                     731           731               731            731            731                  731
 Total Secured Creditor Dispursments            $    101,717   $     101,717   $    102,448          $      102,448   $   102,448    $      102,448    $   102,448    $   102,448    $         102,448

Unsecured Creditor Disbursments
Unsecured Creditor Unprofected Claims
Other Unsecrued Crediotr Claims                 $ 5,265,303    $ 5,265,303     $ 5,265,303           $ 5,265,303      $ 5,265,303    $ 5,265,303       $ 5,265,303    $ 5,265,303    $        5,265,303
Total Unsecured Creditor Dispursments           $ 5,265,303    $ 5,265,303     $ 5,265,303           $ 5,265,303      $ 5,265,303    $ 5,265,303       $ 5,265,303    $ 5,265,303    $        5,265,303

TOTAL Disbursements                             $     831,981 $     1,038,012 $      902,352 $              819,991 $      860,206 $         537,105 $     447,356 $      422,578 $            5,002,095
Net change in Cash                              $      85,692 $      181,017 $       139,100 $              114,230 $      (21,614) $        (56,081) $     (65,655) $     (68,298) $          4,363,935
Dip Financing
Dispursments to Unsecured Creditors
Ending Cash Balance****                         $     201,530 $      262,807 $       401,907 $              516,137 $      494,523 $         438,442 $     372,787 $      304,489 $            4,479,774




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SoNev Construction, LLC
Report of Cash Receipts and Disbursements
December 31, 2022




                                            January-23    February-23       March-23        April-23       May-23           June-23        July-23        August-23       September-23        October-23         November-23         December-23
Cash Basis
Beginning Cash Balance                      $   304,489 $     245,931 $       185,113 $       136,165 $      87,216 $          47,141 $       22,322 $        (2,498) $         (23,782) $         (45,065) $          (42,414) $          (32,757)

Receipts
Equipment Sale Proceeds (unencumbered)
Receipts                                    $ 535,673     $ 508,089     $ 652,964       $ 652,964      $ 761,254        $ 947,454      $ 947,454      $ 990,606       $        990,606    $     1,282,731    $      1,368,231    $      1,230,481
DIP Financing                               $     -       $     -       $     -         $     -        $     -          $     -        $     -        $     -         $            -      $           -      $            -      $            -
Retention 10%                               $ (53,567)    $ (50,809)    $ (65,296)      $ (65,296)     $ (76,125)       $ (94,745)     $ (94,745)     $ (99,061)      $        (99,061)   $      (128,273)   $       (136,823)   $       (123,048)
Contingency 10%                             $ (26,784)    $ (25,404)    $ (32,648)      $ (32,648)     $ (38,063)       $ (47,373)     $ (47,373)     $ (49,530)      $        (49,530)   $       (64,137)   $        (68,412)   $        (61,524)
Transfer In
TOTAL Receipts                              $   455,322 $     431,876 $       555,020 $       555,020 $     647,066 $         805,336 $     805,336 $        842,015 $          842,015 $        1,090,322 $         1,162,997 $         1,045,909

Project Disbursments
   Direct Labor                                 180,437       171,146        219,946         219,946        256,422          319,142       319,142          333,678            333,678            432,078             460,878             414,478
   Bulk Fuel                                     33,832        32,090         41,240          41,240         48,079           59,839        59,839           62,565             62,565             81,015              86,415              77,715
   Tractor & Trailer Repair & Maintenance        23,982        22,747         29,233          29,233         34,082           42,418        42,418           44,350             44,350             57,428              61,256              55,089
   Equipment Repairs & Maintenance               47,308        44,872         57,667          57,667         67,231           83,675        83,675           87,486             87,486            113,285             120,836             108,671
   Small Equipment & Tools (Expense)                161           153            197             197            229              285           285              298                298                386                 412                 371
   Car & Truck                                    9,586         9,092         11,685          11,685         13,622           16,954        16,954           17,727             17,727             22,954              24,484              22,019
   Contractors                                    6,936         6,578          8,454           8,454          9,856           12,267        12,267           12,826             12,826             16,608              17,715              15,931
   Equipment Rental                              67,664        64,180         82,480          82,480         96,158          119,678       119,678          125,129            125,129            162,029             172,829             155,429
   Equipment Transportation                       1,211         1,148          1,476           1,476          1,720            2,141         2,141            2,239              2,239              2,899               3,092               2,781
   Job Supplies                                   4,792         4,545          5,841           5,841          6,810            8,476         8,476            8,862              8,862             11,475              12,240              11,008
   Permits                                          254           241            309             309            361              449           449              469                469                608                 648                 583
Total Project Disbursments                      376,163       356,793        458,528         458,528        534,571          665,326       665,326          695,628            695,628            900,766             960,806             864,075
Operating Disbursements
   Bank Charges & Fees                              260           247             317            317            370              461            461             482                482                624                 665                 598
   Dues & Subscriptions                             739           701             901            901          1,050            1,307          1,307           1,367              1,367              1,770               1,888               1,698
   Recruiting and Retention                          76            72              93             93            108              134            134             141                141                182                 194                 175
   Rent & Lease                                   3,054         2,897           3,723          3,723          4,341            5,402          5,402           5,648              5,648              7,314               7,802               7,016
   Utilities                                      3,120         2,959           3,803          3,803          4,434            5,518          5,518           5,770              5,770              7,471               7,969               7,167
   Shipping, Freight & Delivery                       1             1               1              1              2                2              2               2                  2                  3                   3                   2
   Taxes & Licenses                                 830           787           1,012          1,012          1,179            1,468          1,468           1,535              1,535              1,987               2,120               1,906
   Training                                         136           129             165            165            193              240            240             251                251                325                 347                 312
   Health Insurance - 1001                        3,374         3,200           4,113          4,113          4,795            5,968          5,968           6,240              6,240              8,080               8,618               7,751
   Insurance                                     14,548        13,799          17,733         17,733         20,674           25,731         25,731          26,903             26,903             34,836              37,158              33,417
   Interest Charge                                  896           850           1,092          1,092          1,273            1,585          1,585           1,657              1,657              2,145               2,288               2,058
   Office Supplies & Software                       796           755             971            971          1,131            1,408          1,408           1,472              1,472              1,907               2,034               1,829
   Penalties                                        407           386             496            496            579              720            720             753                753                975               1,040                 935
   Legal & Professional Services                  6,358         6,031           7,751          7,751          9,036           11,246         11,246          11,759             11,759             15,226              16,241              14,606
   Meal & Lodging                                   282           267             344            344            401              499            499             521                521                675                 720                 648
   Travel                                           391           371             477            477            556              692            692             723                723                937                 999                 898
 Total Operating Costs                      $    35,269   $    33,453   $      42,992   $     42,992   $     50,122     $     62,381   $     62,381   $      65,222   $         65,222    $        84,456    $         90,086    $         81,016

Capex                                                                                                                                                                                                                            $         25,000

Secured Creditor Payments
Advantage Leasing                           $   1,372     $   1,372     $   1,372       $   1,372      $   1,372        $   1,372      $   1,372      $   1,372       $          1,372    $         1,372    $          1,372    $          1,372
Amur GPS System                             $   3,544     $   3,544     $   3,544       $   3,544      $   3,544        $   3,544      $   3,544      $   3,544       $          3,544    $         3,544    $          3,544    $          3,544
Balboa Capital                              $     942     $     942     $     942       $     942      $     942        $     942      $     942      $     942       $            942    $           942    $            942    $            942
Bill Miller -D10N Dozer                     $  12,800     $  12,800     $  12,800       $  12,800      $  12,800        $  12,800      $  12,800      $  12,800       $         12,800    $        12,800    $         12,800    $         12,800
Bill Miller -773G                           $  20,000     $  20,000     $  20,000       $  20,000      $  20,000        $  20,000      $  20,000      $  20,000       $         20,000    $        20,000    $         20,000    $         20,000
Bill Miller -PC360                          $   9,240     $   9,240     $   9,240       $   9,240      $   9,240        $   9,240      $   9,240      $   9,240       $          9,240    $         9,240    $          9,240    $          9,240
Bill Miller- PC360 6147                     $   8,500     $   8,500     $   8,500       $   8,500      $   8,500        $   8,500      $   8,500      $   8,500       $          8,500    $         8,500    $          8,500    $          8,500
Caterpillar Financial Services              $   9,501     $   9,501     $   9,501       $   9,501      $   9,501        $   9,501      $   9,501      $   9,501       $          9,501    $         9,501    $          9,501    $          9,501
Crestmark Finance                           $  13,057     $  13,057     $  13,057       $  13,057      $  13,057        $  13,057      $  13,057      $  13,057       $         13,057    $        13,057    $         13,057    $         13,057
Deere & Company                             $   1,306     $   1,306     $   1,306       $   1,306      $   1,306        $   1,306      $   1,306      $   1,306       $          1,306    $         1,306    $          1,306    $          1,306
Financial Pacific Leasing                   $   1,642     $   1,642     $   1,642       $   1,642      $   1,642        $   1,642      $   1,642      $   1,642       $          1,642    $         1,642    $          1,642    $          1,642
Ford Credit                                 $     781     $     781     $     781       $     781      $     781        $     781      $     781      $     781       $            781    $           781    $            781    $            781
Komatsue Financial                             14,900        14,900        14,900          14,900         14,900           14,900         14,900         14,900                 14,900             14,900              14,900              14,900
Southwest Plumbing Contractual Agreement            -             -             -               -              -                -              -              -                      -                  -                   -                   -
Sterns Bank-637D                                1,010         1,010         1,010           1,010          1,010            1,010          1,010          1,010                  1,010              1,010               1,010               1,010
Sterns Bank-                                    3,122         3,122         3,122           3,122          3,122            3,122          3,122          3,122                  3,122              3,122               3,122               3,122
US Small Business Administration                  731           731           731             731            731              731            731            731                    731                731                 731                 731
 Total Secured Creditor Dispursments        $ 102,448     $ 102,448     $ 102,448       $ 102,448      $ 102,448        $ 102,448      $ 102,448      $ 102,448       $        102,448    $       102,448    $        102,448    $        102,448

Unsecured Creditor Disbursments
Unsecured Creditor Unprofected Claims
Other Unsecrued Crediotr Claims             $ 5,265,303   $ 5,265,303   $ 5,265,303     $ 5,265,303    $ 5,265,303      $ 5,265,303    $ 5,265,303    $ 5,265,303     $       5,265,303   $     5,265,303    $      5,265,303    $      5,265,303
Total Unsecured Creditor Dispursments       $ 5,265,303   $ 5,265,303   $ 5,265,303     $ 5,265,303    $ 5,265,303      $ 5,265,303    $ 5,265,303    $ 5,265,303     $       5,265,303   $     5,265,303    $      5,265,303    $      5,265,303

TOTAL Disbursements                         $   513,880 $     492,694 $       603,968 $       603,968 $     687,141 $         830,155 $     830,155 $        863,299 $          863,299 $        1,087,670 $         1,153,340 $         1,072,539
Net change in Cash                          $    (58,558) $    (60,818) $      (48,948) $     (48,948) $     (40,076) $       (24,819) $     (24,819) $      (21,284) $         (21,284) $           2,651 $            9,657 $            (26,630)
Dip Financing
Dispursments to Unsecured Creditors
Ending Cash Balance****                     $   245,931 $     185,113 $       136,165 $        87,216 $      47,141 $          22,322 $       (2,498) $      (23,782) $         (45,065) $         (42,414) $          (32,757) $          (59,387)




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SoNev Construction, LLC
Report of Cash Receipts and Disbursements
December 31, 2022




                                                January-24   February-24        March-24        April-24         May-24         June-24         July-24         August-24    September-24       October-24    November-24    December-24        Year 2024
Cash Basis
Beginning Cash Balance                      $       (59,387) $    (94,384) $      (137,165) $     (186,953) $     (236,741) $     (184,813) $    (137,168) $        (89,523) $     (41,879) $         5,764 $      53,406 $      101,046 $          140,513

Receipts
Equipment Sale Proceeds (unencumbered)
Receipts                                    $ 1,128,356      $ 1,033,356    $ 947,856       $     947,856    $ 947,856      $    895,606    $    895,606    $     895,606    $    895,606    $     895,606    $   895,606    $   795,856    $   11,174,776
DIP Financing                               $       -        $       -      $     -         $         -      $     -        $        -      $        -      $         -      $        -      $         -      $       -      $       -      $          -
Retention 10%                               $ (112,836)      $ (103,336)    $ (94,786)      $     (94,786)   $ (94,786)     $    (89,561)   $    (89,561)   $     (89,561)   $    (89,561)   $     (89,561)   $   (89,561)   $   (79,586)   $   (1,117,478)
Contingency 10%                             $   (56,418)     $   (51,668)   $ (47,393)      $     (47,393)   $ (47,393)     $    (44,780)   $    (44,780)   $     (44,780)   $    (44,780)   $     (44,780)   $   (44,780)   $   (39,793)   $     (558,739)
Transfer In
TOTAL Receipts                              $       959,103 $    878,353 $        805,678 $        805,678 $      805,678 $       761,265 $       761,265 $        761,265 $      761,265 $         761,265 $     761,265 $      676,478 $         9,498,559

Project Disbursments
   Direct Labor                             $      380,078   $   348,078    $ 319,278       $     319,278    $ 319,278      $    301,678    $    301,678    $     301,678    $    301,678    $     301,678    $   301,678    $   268,078    $     3,764,135
   Bulk Fuel                                $       71,265   $    65,265    $  59,865       $      59,865    $  59,865      $     56,565    $     56,565    $      56,565    $     56,565    $      56,565    $    56,565    $    50,265    $       705,775
   Tractor & Trailer Repair & Maintenance   $       99,652   $    91,262    $  83,711       $      83,711    $  83,711      $     79,096    $     79,096    $      79,096    $     79,096    $      79,096    $    79,096    $    70,287    $       986,909
   Equipment Repairs & Maintenance          $          340   $       311    $     286       $         286    $     286      $        270    $        270    $         270    $        270    $         270    $       270    $       240    $         3,366
   Small Equipment & Tools (Expense)        $       50,517   $    46,264    $  42,436       $      42,436    $  42,436      $     40,097    $     40,097    $      40,097    $     40,097    $      40,097    $    40,097    $    35,631    $       500,298
   Car & Truck                              $       20,192   $    18,492    $  16,962       $      16,962    $  16,962      $     16,027    $     16,027    $      16,027    $     16,027    $      16,027    $    16,027    $    14,242    $       199,970
   Contractors                              $       14,609   $    13,379    $  12,272       $      12,272    $  12,272      $     11,596    $     11,596    $      11,596    $     11,596    $      11,596    $    11,596    $    10,304    $       144,684
   Equipment Rental                         $      142,529   $   130,529    $ 119,729       $     119,729    $ 119,729      $    113,129    $    113,129    $     113,129    $    113,129    $     113,129    $   113,129    $   100,529    $     1,411,551
   Equipment Transportation                 $        2,550   $     2,335    $   2,142       $       2,142    $   2,142      $      2,024    $      2,024    $       2,024    $      2,024    $       2,024    $     2,024    $     1,799    $        25,254
   Job Supplies                             $       10,094   $     9,244    $   8,480       $       8,480    $   8,480      $      8,012    $      8,012    $       8,012    $      8,012    $       8,012    $     8,012    $     7,120    $        99,970
   Permits                                  $          535   $       490    $     449       $         449    $     449      $        424    $        424    $         424    $        424    $         424    $       424    $       377    $         5,294
Total Project Disbursments                         792,360       725,649      665,608             665,608      665,608           628,917         628,917          628,917         628,917          628,917        628,917        558,870          7,847,206
Operating Disbursements
   Bank Charges & Fees                                 549           502              461             461             461             435            435               435            435              435            435            387             5,433
   Dues & Subscriptions                              1,557         1,426            1,308           1,308           1,308           1,236          1,236             1,236          1,236            1,236          1,236          1,098            15,418
   Recruiting and Retention                            160           147              134             134             134             127            127               127            127              127            127            113             1,585
   Rent & Lease                                      6,434         5,892            5,405           5,405           5,405           5,107          5,107             5,107          5,107            5,107          5,107          4,538            63,719
   Utilities                                         6,572         6,019            5,521           5,521           5,521           5,216          5,216             5,216          5,216            5,216          5,216          4,635            65,085
   Shipping, Freight & Delivery                          2             2                2               2               2               2              2                 2              2                2              2              2                23
   Taxes & Licenses                                  1,748         1,601            1,468           1,468           1,468           1,387          1,387             1,387          1,387            1,387          1,387          1,233            17,312
   Training                                            286           262              240             240             240             227            227               227            227              227            227            202             2,831
   Health Insurance - 1001                           7,107         6,509            5,970           5,970           5,970           5,641          5,641             5,641          5,641            5,641          5,641          5,013            70,389
   Insurance                                        30,644        28,064           25,742          25,742          25,742          24,323         24,323            24,323         24,323           24,323         24,323         21,614           303,483
   Interest Charge                                   1,887         1,728            1,585           1,585           1,585           1,498          1,498             1,498          1,498            1,498          1,498          1,331            18,690
   Office Supplies & Software                        1,677         1,536            1,409           1,409           1,409           1,331          1,331             1,331          1,331            1,331          1,331          1,183            16,609
   Penalties                                           858           785              720             720             720             681            681               681            681              681            681            605             8,493
   Legal & Professional Services                    13,394        12,266           11,251          11,251          11,251          10,631         10,631            10,631         10,631           10,631         10,631          9,447           132,645
   Meal & Lodging                                      594           544              499             499             499             471            471               471            471              471            471            419             5,881
   Travel                                              824           755              692             692             692             654            654               654            654              654            654            581             8,160
 Total Operating Costs                      $       74,292   $    68,037    $      62,408   $      62,408    $     62,408   $      58,967   $     58,967    $       58,967   $     58,967    $      58,967    $    58,967    $    52,400    $      735,757

Capex                                       $       25,000   $    25,000    $      25,001   $      25,002    $     25,003   $      25,004   $     25,005    $       25,006   $     25,007    $      25,008    $    25,009    $    25,010    $        25,011

Secured Creditor Payments
Advantage Leasing                           $        1,372   $     1,372    $   1,372       $       1,372
Amur GPS System                             $        3,544   $     3,544    $   3,544       $       3,544
Balboa Capital                              $          942   $       942    $     942       $         942
Bill Miller -D10N Dozer                     $       12,800   $    12,800    $  12,800       $      12,800
Bill Miller -773G                           $       20,000   $    20,000    $  20,000       $      20,000
Bill Miller -PC360                          $        9,240   $     9,240    $   9,240       $       9,240
Bill Miller- PC360 6147                     $        8,500   $     8,500    $   8,500       $       8,500
Caterpillar Financial Services              $        9,501   $     9,501    $   9,501       $       9,501
Crestmark Finance                           $       13,057   $    13,057    $  13,057       $      13,057
Deere & Company                             $        1,306   $     1,306    $   1,306       $       1,306
Financial Pacific Leasing                   $        1,642   $     1,642    $   1,642       $       1,642
Ford Credit                                 $          781   $       781    $     781       $         781
Komatsue Financial                                  14,900        14,900       14,900              14,900
Southwest Plumbing Contractual Agreement                 -             -            -                   -
Sterns Bank-637D                                     1,010         1,010        1,010               1,010
Sterns Bank-                                         3,122         3,122        3,122               3,122
US Small Business Administration                       731           731          731                 731             731             731             731              731           731               731           731            731                 731
 Total Secured Creditor Dispursments        $      102,448   $   102,448    $ 102,448       $     102,448    $        731   $         731   $         731   $          731   $       731     $         731    $      731     $      731     $           731

Unsecured Creditor Disbursments
Unsecured Creditor Unprofected Claims
Other Unsecrued Crediotr Claims             $ 5,265,303      $ 5,265,303    $ 5,265,303     $ 5,265,303      $ 5,265,303    $ 5,265,303     $ 5,265,303     $ 5,265,303      $ 5,265,303     $ 5,265,303      $ 5,265,303    $ 5,265,303    $     5,265,303
Total Unsecured Creditor Dispursments       $ 5,265,303      $ 5,265,303    $ 5,265,303     $ 5,265,303      $ 5,265,303    $ 5,265,303     $ 5,265,303     $ 5,265,303      $ 5,265,303     $ 5,265,303      $ 5,265,303    $ 5,265,303    $     5,265,303

TOTAL Disbursements                         $       994,100 $    921,134 $        855,465 $        855,466 $      753,750 $       713,620 $       713,621 $        713,622 $      713,623 $         713,624 $     713,625 $      637,011 $         8,608,705
Net change in Cash                          $       (34,997) $    (42,781) $       (49,787) $      (49,788) $      51,928 $        47,646 $        47,645 $         47,644 $       47,643 $          47,642 $      47,641 $       39,467 $          889,854
Dip Financing
Dispursments to Unsecured Creditors
Ending Cash Balance****                     $       (94,384) $   (137,165) $      (186,953) $     (236,741) $     (184,813) $     (137,168) $      (89,523) $       (41,879) $      5,764 $          53,406 $     101,046 $      140,513 $         1,030,368




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SoNev Construction, LLC
Report of Cash Receipts and Disbursements
December 31, 2022




                                                 January-25    February-25        March-25        April-25        May-25            June-25         July-25         August-25    September-25      October-25   November-25   December-25
Cash Basis
Beginning Cash Balance                       $       140,513 $     190,836 $         235,126 $       296,157 $      354,709 $         412,053 $       443,049 $        474,043 $      613,267 $        807,106 $     987,549 $    1,137,745

Receipts
Equipment Sale Proceeds (unencumbered)
Receipts                                     $      928,381    $   854,756    $ 1,059,088     $ 1,028,850     $ 1,014,125       $    692,550    $    692,550 $        906,775    $ 1,206,975    $ 1,133,350     $   967,100   $   843,600
DIP Financing                                $          -      $       -      $       -       $       -       $       -         $        -      $        -    $           -      $       -      $       -       $       -     $       -
Retention 10%                                $      (92,838)   $   (85,476)   $ (105,909)     $ (102,885)     $ (101,413)       $    (69,255)   $    (69,255)
Contingency 10%                              $      (46,419)   $   (42,738)   $   (52,954)    $   (51,443)    $   (50,706)      $    (34,628)   $    (34,628) $        (45,339) $     (60,349) $      (56,668) $     (48,355) $    (42,180)
Transfer In
TOTAL Receipts                               $       789,124 $     726,543 $         900,224 $       874,523 $      862,006 $         588,668 $       588,668 $        861,436 $     1,146,626 $     1,076,683 $     918,745 $     801,420

Project Disbursments
    Direct Labor                             $      312,718    $   287,918    $     356,745   $     346,560   $    341,600      $    233,280    $    233,280    $     305,440    $   406,560    $     381,760   $   325,760   $   284,160
    Bulk Fuel                                $       58,635    $    53,985    $      66,890   $      64,980   $     64,050      $     43,740    $     43,740    $      57,270    $    76,230    $      71,580   $    61,080   $    53,280
    Tractor & Trailer Repair & Maintenance   $       81,991    $    75,488    $      93,534   $      90,864   $     89,563      $     61,163    $     61,163    $      80,083    $   106,595    $     100,093   $    85,410   $    74,503
    Equipment Repairs & Maintenance          $          280    $       257    $         319   $         310   $        305      $        209    $        209    $         273    $       364    $         341   $       291   $       254
    Small Equipment & Tools (Expense)        $       41,564    $    38,268    $      47,416   $      46,062   $     45,403      $     31,006    $     31,006    $      40,597    $    54,037    $      50,740   $    43,297   $    37,768
    Car & Truck                              $       16,613    $    15,296    $      18,952   $      18,411   $     18,148      $     12,393    $     12,393    $      16,227    $    21,599    $      20,281   $    17,306   $    15,096
    Contractors                              $       12,020    $    11,067    $      13,712   $      13,321   $     13,130      $      8,967    $      8,967    $      11,740    $    15,627    $      14,674   $    12,521   $    10,922
    Equipment Rental                         $      117,269    $   107,969    $     133,779   $     129,960   $    128,100      $     87,480    $     87,480    $     114,540    $   152,460    $     143,160   $   122,160   $   106,560
    Equipment Transportation                 $        2,098    $     1,932    $       2,393   $       2,325   $      2,292      $      1,565    $      1,565    $       2,049    $     2,728    $       2,561   $     2,186   $     1,906
    Job Supplies                             $        8,305    $     7,647    $       9,475   $       9,204   $      9,072      $      6,196    $      6,196    $       8,112    $    10,798    $      10,139   $     8,652   $     7,547
    Permits                                  $          440    $       405    $         502   $         487   $        480      $        328    $        328    $         430    $       572    $         537   $       458   $       400
Total Project Disbursments                          651,933        600,231          743,718         722,484        712,144           486,326         486,326          636,760        847,568          795,867       679,122       592,397
Operating Disbursements
    Bank Charges & Fees                                 451            416              515             500               493             337            337               441           587              551           470            410
    Dues & Subscriptions                              1,281          1,179            1,461           1,420             1,399             956            956             1,251         1,665            1,564         1,334          1,164
    Recruiting and Retention                            132            121              150             146               144              98             98               129           171              161           137            120
    Rent & Lease                                      5,294          4,874            6,039           5,867             5,783           3,949          3,949             5,170         6,882            6,462         5,514          4,810
    Utilities                                         5,407          4,978            6,168           5,992             5,907           4,034          4,034             5,281         7,030            6,601         5,633          4,913
    Shipping, Freight & Delivery                          2              2                2               2                 2               1              1                 2             2                2             2              2
    Taxes & Licenses                                  1,438          1,324            1,641           1,594             1,571           1,073          1,073             1,405         1,870            1,756         1,498          1,307
    Training                                            235            217              268             261               257             175            175               230           306              287           245            214
    Health Insurance - 1001                           5,848          5,384            6,671           6,481             6,388           4,362          4,362             5,712         7,603            7,139         6,092          5,314
    Insurance                                        25,213         23,213           28,763          27,941            27,542          18,808         18,808            24,626        32,779           30,779        26,264         22,910
    Interest Charge                                   1,553          1,430            1,771           1,721             1,696           1,158          1,158             1,517         2,019            1,896         1,618          1,411
    Office Supplies & Software                        1,380          1,270            1,574           1,529             1,507           1,029          1,029             1,348         1,794            1,685         1,437          1,254
    Penalties                                           706            650              805             782               771             526            526               689           917              861           735            641
    Legal & Professional Services                    11,020         10,146           12,571          12,213            12,038           8,221          8,221            10,763        14,327           13,453        11,480         10,014
    Meal & Lodging                                      489            450              557             542               534             365            365               477           635              597           509            444
    Travel                                              678            624              773             751               740             506            506               662           881              828           706            616
 Total Operating Costs                       $       61,125    $    56,278    $      69,731   $      67,740   $        66,771   $      45,598   $     45,598    $       59,703   $    79,468    $      74,621   $    63,675   $     55,543

Capex                                        $       25,012    $    25,013    $      25,014   $      25,015   $        25,016   $      25,017   $     25,018    $       25,019   $    25,020    $      25,021   $    25,022   $     25,000

Secured Creditor Payments
Advantage Leasing
Amur GPS System
Balboa Capital
Bill Miller -D10N Dozer
Bill Miller -773G
Bill Miller -PC360
Bill Miller- PC360 6147
Caterpillar Financial Services
Crestmark Finance
Deere & Company
Financial Pacific Leasing
Ford Credit
Komatsue Financial
Southwest Plumbing Contractual Agreement
Sterns Bank-637D
Sterns Bank-
US Small Business Administration                        731            731              731             731              731              731             731              731           731              731           731            731
 Total Secured Creditor Dispursments         $          731    $       731    $         731   $         731   $          731    $         731   $         731   $          731   $       731    $         731   $       731   $        731

Unsecured Creditor Disbursments
Unsecured Creditor Unprofected Claims
Other Unsecrued Crediotr Claims              $ 5,265,303       $ 5,265,303    $ 5,265,303     $ 5,265,303     $ 5,265,303       $ 5,265,303     $ 5,265,303     $ 5,265,303      $ 5,265,303    $ 5,265,303     $ 5,265,303   $ 5,265,303
Total Unsecured Creditor Dispursments        $ 5,265,303       $ 5,265,303    $ 5,265,303     $ 5,265,303     $ 5,265,303       $ 5,265,303     $ 5,265,303     $ 5,265,303      $ 5,265,303    $ 5,265,303     $ 5,265,303   $ 5,265,303

TOTAL Disbursements                          $       738,801 $     682,253 $         839,194 $       815,970 $      804,662 $         557,672 $       557,673 $        722,213 $      952,787 $        896,239 $     768,549 $     673,671
Net change in Cash                           $        50,323 $      44,290 $          61,030 $        58,552 $         57,345 $        30,996 $        30,995 $        139,223 $      193,839 $        180,443 $     150,196 $     127,749
Dip Financing
Dispursments to Unsecured Creditors
Ending Cash Balance****                      $       190,836 $     235,126 $         296,157 $       354,709 $      412,053 $         443,049 $       474,043 $        613,267 $      807,106 $        987,549 $    1,137,745 $   1,265,493




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SoNev Construction, LLC
Report of Cash Receipts and Disbursements
December 31, 2022




                                             January-26    February-26       March-26        April-26        May-26         June-26          July-26        August-26    September-26        October-26    November-26     December-26         Year 2026
Cash Basis
Beginning Cash Balance                       $ 1,265,493 $ 1,386,328 $ 1,535,250 $ 1,690,220 $ 1,852,104 $ 2,013,989 $ 2,165,873 $                            2,317,757 $    2,488,567 $        2,614,093 $    2,739,619 $     2,830,578 $       2,966,734

Receipts
Equipment Sale Proceeds (unencumbered)
Receipts                                     $ 805,600     $ 959,975     $ 993,225       $ 1,031,225     $ 1,031,225    $ 1,031,225      $ 1,031,225    $    1,135,250   $    886,350    $      886,350    $    696,350    $    944,775    $ 11,432,775
DIP Financing                                $     -       $     -       $     -         $       -       $       -      $       -        $       -      $          -     $        -      $          -      $        -      $        -      $        -
Retention 10%
Contingency 10%                              $   (40,280) $    (47,999) $      (49,661) $      (51,561) $     (51,561) $        (51,561) $    (51,561) $       (56,763) $      (44,318) $        (44,318) $      (34,818) $      (47,239) $      (571,639)
Transfer In
TOTAL Receipts                               $   765,320 $     911,976 $       943,564 $       979,664 $      979,664 $         979,664 $     979,664 $       1,078,488 $      842,033 $         842,033 $       661,533 $       897,536 $      10,861,136

Project Disbursments
    Direct Labor                             $ 271,360     $ 323,360     $ 334,560       $ 347,360       $ 347,360      $ 347,360        $ 347,360      $      382,400   $    298,560    $      298,560    $    234,560    $    318,240    $    3,851,040
    Bulk Fuel                                $  50,880     $  60,630     $  62,730       $  65,130       $  65,130      $  65,130        $  65,130      $       71,700   $     55,980    $       55,980    $     43,980    $     59,670    $      722,070
    Tractor & Trailer Repair & Maintenance   $  71,147     $  84,781     $  87,717       $  91,073       $  91,073      $  91,073        $  91,073      $      100,261   $     78,279    $       78,279    $     61,499    $     83,439    $    1,009,695
    Equipment Repairs & Maintenance          $     243     $     289     $     299       $     311       $     311      $     311        $     311      $          342   $        267    $          267    $        210    $        285    $        3,444
    Small Equipment & Tools (Expense)        $  36,067     $  42,978     $  44,467       $  46,168       $  46,168      $  46,168        $  46,168      $       50,826   $     39,682    $       39,682    $     31,176    $     42,298    $      511,849
    Car & Truck                              $  14,416     $  17,179     $  17,774       $  18,454       $  18,454      $  18,454        $  18,454      $       20,315   $     15,861    $       15,861    $     12,461    $     16,907    $      204,587
    Contractors                              $  10,430     $  12,429     $  12,860       $  13,352       $  13,352      $  13,352        $  13,352      $       14,699   $     11,476    $       11,476    $      9,016    $     12,232    $      148,024
    Equipment Rental                         $ 101,760     $ 121,260     $ 125,460       $ 130,260       $ 130,260      $ 130,260        $ 130,260      $      143,400   $    111,960    $      111,960    $     87,960    $    119,340    $    1,444,140
    Equipment Transportation                 $   1,821     $   2,169     $   2,245       $   2,330       $   2,330      $   2,330        $   2,330      $        2,566   $      2,003    $        2,003    $      1,574    $      2,135    $       25,837
    Job Supplies                             $   7,207     $   8,588     $   8,885       $   9,225       $   9,225      $   9,225        $   9,225      $       10,156   $      7,929    $        7,929    $      6,230    $      8,452    $      102,278
    Permits                                  $     382     $     455     $     471       $     489       $     489      $     489        $     489      $          538   $        420    $          420    $        330    $        448    $        5,416
Total Project Disbursments                     565,712       674,118       697,467         724,152         724,152        724,152          724,152             797,201        622,417           622,417         488,994         663,445         8,028,380
Operating Disbursements
    Bank Charges & Fees                             392           467              483            501             501              501            501              552            431                431            339             459             5,558
    Dues & Subscriptions                          1,112         1,325            1,370          1,423           1,423            1,423          1,423            1,566          1,223              1,223            961           1,304            15,774
    Recruiting and Retention                        114           136              141            146             146              146            146              161            126                126             99             134             1,622
    Rent & Lease                                  4,594         5,474            5,663          5,880           5,880            5,880          5,880            6,473          5,054              5,054          3,971           5,387            65,190
    Utilities                                     4,692         5,591            5,785          6,006           6,006            6,006          6,006            6,612          5,162              5,162          4,056           5,503            66,587
    Shipping, Freight & Delivery                      2             2                2              2               2                2              2                2              2                  2              1               2                23
    Taxes & Licenses                              1,248         1,487            1,539          1,598           1,598            1,598          1,598            1,759          1,373              1,373          1,079           1,464            17,711
    Training                                        204           243              252            261             261              261            261              288            225                225            176             239             2,896
    Health Insurance - 1001                       5,074         6,047            6,256          6,496           6,496            6,496          6,496            7,151          5,583              5,583          4,386           5,951            72,014
    Insurance                                    21,878        26,071           26,974         28,006          28,006           28,006         28,006           30,831         24,071             24,071         18,911          25,658           310,490
    Interest Charge                               1,347         1,606            1,661          1,725           1,725            1,725          1,725            1,899          1,482              1,482          1,165           1,580            19,122
    Office Supplies & Software                    1,197         1,427            1,476          1,533           1,533            1,533          1,533            1,687          1,317              1,317          1,035           1,404            16,993
    Penalties                                       612           730              755            784             784              784            784              863            674                674            529             718             8,689
    Legal & Professional Services                 9,563        11,395           11,790         12,241          12,241           12,241         12,241           13,475         10,521             10,521          8,266          11,215           135,708
    Meal & Lodging                                  424           505              523            543             543              543            543              598            467                467            367             497             6,017
    Travel                                          588           701              725            753             753              753            753              829            647                647            508             690             8,348
 Total Operating Costs                       $   53,041    $   63,206    $      65,395   $     67,897    $     67,897   $       67,897   $     67,897   $       74,746   $     58,358    $        58,358   $     45,848    $     62,205    $      752,744

Capex                                        $   25,000    $   25,000    $      25,000   $     25,000    $     25,000   $       35,000   $     35,000   $       35,000   $     35,000    $        35,000   $     35,000    $     35,000    $       35,000

Secured Creditor Payments
Advantage Leasing
Amur GPS System
Balboa Capital
Bill Miller -D10N Dozer
Bill Miller -773G
Bill Miller -PC360
Bill Miller- PC360 6147
Caterpillar Financial Services
Crestmark Finance
Deere & Company
Financial Pacific Leasing
Ford Credit
Komatsue Financial
Southwest Plumbing Contractual Agreement
Sterns Bank-637D
Sterns Bank-
US Small Business Administration                    731           731             731              731           731               731            731              731            731                731            731             731               731
 Total Secured Creditor Dispursments         $      731    $      731    $        731    $         731   $       731    $          731   $        731   $          731   $        731    $           731   $        731    $        731    $          731

Unsecured Creditor Disbursments
Unsecured Creditor Unprofected Claims
Other Unsecrued Crediotr Claims              $ 5,265,303   $ 5,265,303   $ 5,265,303     $ 5,265,303     $ 5,265,303    $ 5,265,303      $ 5,265,303    $    5,265,303   $   5,265,303   $     5,265,303   $   5,265,303   $   5,265,303   $    5,265,303
Total Unsecured Creditor Dispursments        $ 5,265,303   $ 5,265,303   $ 5,265,303     $ 5,265,303     $ 5,265,303    $ 5,265,303      $ 5,265,303    $    5,265,303   $   5,265,303   $     5,265,303   $   5,265,303   $   5,265,303   $    5,265,303

TOTAL Disbursements                          $   644,485 $     763,055 $       788,593 $       817,780 $      817,780 $         827,780 $     827,780 $         907,678 $      716,506 $         716,506 $       570,574 $       761,380 $       8,816,854
Net change in Cash                           $   120,835 $     148,921 $       154,971 $       161,884 $      161,884 $         151,884 $     151,884 $         170,810 $      125,526 $         125,526 $        90,959 $       136,156 $       2,044,282
Dip Financing
Dispursments to Unsecured Creditors
Ending Cash Balance****                      $ 1,386,328 $ 1,535,250 $ 1,690,220 $ 1,852,104 $ 2,013,989 $ 2,165,873 $ 2,317,757 $                            2,488,567 $    2,614,093 $        2,739,619 $    2,830,578 $     2,966,734 $       5,011,016




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SoNev Construction, LLC
Report of Cash Receipts and Disbursements
December 31, 2022




                                                January-27        February-27        March-27         April-27         May-27          June-27           July-27         August-27        September-27         October-27             November-27             December-27
Cash Basis
Beginning Cash Balance                      $      2,966,734 $       3,175,827 $       3,383,020 $     3,546,138 $      3,697,936 $     3,835,906 $       3,989,000 $      4,142,094 $          4,285,188 $          4,435,196 $            4,521,685 $             4,558,916

Receipts
Equipment Sale Proceeds (unencumbered)
Receipts                                    $    1,345,675    $     1,335,225    $    1,092,975   $   1,030,750    $    954,750    $   1,037,875     $   1,037,875   $    1,037,875   $        1,075,875   $          726,750     $          456,000      $          574,750
DIP Financing                               $          -      $           -      $          -     $         -      $        -      $         -       $         -     $          -     $              -     $              -       $              -        $              -
Retention 10%
Contingency 10%                             $       (67,284) $        (66,761) $        (54,649) $       (51,538) $      (47,738) $      (51,894) $        (51,894) $       (51,894) $            (53,794) $          (36,338) $             (22,800) $              (28,738)
Transfer In
TOTAL Receipts                              $      1,278,391 $       1,268,464 $       1,038,326 $       979,213 $       907,013 $        985,981 $         985,981 $        985,981 $          1,022,081 $           690,413 $               433,200 $               546,013

Project Disbursments
   Direct Labor                             $      453,280    $       449,760    $     368,160    $     347,200    $    321,600    $     349,600     $     349,600   $      349,600   $          362,400   $          244,800     $          153,600      $          193,600
   Bulk Fuel                                $       84,990    $        84,330    $      69,030    $      65,100    $     60,300    $      65,550     $      65,550   $       65,550   $           67,950   $           45,900     $           28,800      $           36,300
   Tractor & Trailer Repair & Maintenance   $      118,844    $       117,921    $      96,527    $      91,032    $     84,320    $      91,661     $      91,661   $       91,661   $           95,017   $           64,184     $           40,272      $           50,760
   Equipment Repairs & Maintenance          $          405    $           402    $         329    $         310    $        288    $         313     $         313   $          313   $              324   $              219     $              137      $              173
   Small Equipment & Tools (Expense)        $       60,246    $        59,778    $      48,933    $      46,147    $     42,744    $      46,466     $      46,466   $       46,466   $           48,167   $           32,537     $           20,415      $           25,732
   Car & Truck                              $       24,081    $        23,894    $      19,559    $      18,445    $     17,085    $      18,573     $      18,573   $       18,573   $           19,253   $           13,005     $            8,160      $           10,285
   Contractors                              $       17,423    $        17,288    $      14,151    $      13,346    $     12,362    $      13,438     $      13,438   $       13,438   $           13,930   $            9,410     $            5,904      $            7,442
   Equipment Rental                         $      169,980    $       168,660    $     138,060    $     130,200    $    120,600    $     131,100     $     131,100   $      131,100   $          135,900   $           91,800     $           57,600      $           72,600
   Equipment Transportation                 $        3,041    $         3,018    $       2,470    $       2,329    $      2,158    $       2,346     $       2,346   $        2,346   $            2,431   $            1,642     $            1,031      $            1,299
   Job Supplies                             $       12,038    $        11,945    $       9,778    $       9,221    $      8,541    $       9,285     $       9,285   $        9,285   $            9,625   $            6,502     $            4,079      $            5,142
   Permits                                  $          638    $           633    $         518    $         488    $        452    $         492     $         492   $          492   $              510   $              344     $              216      $              272
Total Project Disbursments                         944,967            937,628          767,514          723,818         670,449          728,822           728,822          728,822              755,506              510,342                320,215                 403,604
Operating Disbursements
   Bank Charges & Fees                                  654               649               531              501             464             505               505              505                  523                  353                    222                     279
   Dues & Subscriptions                               1,857             1,842             1,508            1,422           1,317           1,432             1,432            1,432                1,484                1,003                    629                     793
   Recruiting and Retention                             191               189               155              146             135             147               147              147                  153                  103                     65                      82
   Rent & Lease                                       7,673             7,613             6,232            5,877           5,444           5,918             5,918            5,918                6,135                4,144                  2,600                   3,277
   Utilities                                          7,838             7,777             6,366            6,003           5,561           6,045             6,045            6,045                6,266                4,233                  2,656                   3,347
   Shipping, Freight & Delivery                           3                 3                 2                2               2               2                 2                2                    2                    1                      1                       1
   Taxes & Licenses                                   2,085             2,068             1,693            1,597           1,479           1,608             1,608            1,608                1,667                1,126                    706                     890
   Training                                             341               338               277              261             242             263               263              263                  273                  184                    116                     146
   Health Insurance - 1001                            8,476             8,411             6,885            6,493           6,014           6,538             6,538            6,538                6,777                4,578                  2,872                   3,620
   Insurance                                         36,546            36,262            29,683           27,993          25,929          28,187            28,187           28,187               29,219               19,737                 12,384                  15,609
   Interest Charge                                    2,251             2,233             1,828            1,724           1,597           1,736             1,736            1,736                1,799                1,216                    763                     961
   Office Supplies & Software                         2,000             1,985             1,625            1,532           1,419           1,543             1,543            1,543                1,599                1,080                    678                     854
   Penalties                                          1,023             1,015               831              783             726             789               789              789                  818                  552                    347                     437
   Legal & Professional Services                     15,973            15,849            12,974           12,235          11,333          12,320            12,320           12,320               12,771                8,627                  5,413                   6,822
   Meal & Lodging                                       708               703               575              543             503             546               546              546                  566                  383                    240                     303
   Travel                                               983               975               798              753             697             758               758              758                  786                  531                    333                     420
 Total Operating Costs                      $        88,600   $        87,912    $       71,962   $       67,865   $      62,862   $      68,335     $      68,335   $       68,335   $           70,837   $           47,850     $           30,023      $           37,842

Capex                                       $        35,000   $        35,000    $       35,000   $       35,000   $      35,000   $      35,000     $      35,000   $       45,000   $           45,000   $           45,000     $           45,000      $           45,000

Secured Creditor Payments
Advantage Leasing                                                                                                                                                                                                                                                                 $    35,679.54
Amur GPS System                                                                                                                                                                                                                                                                   $    92,154.92
Balboa Capital                                                                                                                                                                                                                                                                    $    24,491.22
Bill Miller -D10N Dozer                                                                                                                                                                                                                                                           $   332,800.00
Bill Miller -773G                                                                                                                                                                                                                                                                 $   520,000.00
Bill Miller -PC360                                                                                                                                                                                                                                                                $   240,242.34
Bill Miller- PC360 6147                                                                                                                                                                                                                                                           $   221,000.00
Caterpillar Financial Services                                                                                                                                                                                                                                                    $   247,027.04
Crestmark Finance                                                                                                                                                                                                                                                                 $   339,488.50
Deere & Company                                                                                                                                                                                                                                                                   $    33,963.54
Financial Pacific Leasing                                                                                                                                                                                                                                                         $    42,680.04
Ford Credit                                                                                                                                                                                                                                                                       $    20,296.38
Komatsue Financial                                                                                                                                                                                                                                                                $   387,394.02
Southwest Plumbing Contractual Agreement                                                                                                                                                                                                                                          $          -
Sterns Bank-637D                                                                                                                                                                                                                                                                  $    26,249.60
Sterns Bank-                                                                                                                                                                                                                                                                      $    81,181.62
US Small Business Administration                        731               731              731               731            731              731               731              731                  731                    731                     731                     731   $    51,901.00
 Total Secured Creditor Dispursments        $           731   $           731    $         731    $          731   $        731    $         731     $         731   $          731   $              731   $                731   $                 731   $                 731   $    2,696,550

Unsecured Creditor Disbursments
Unsecured Creditor Unprofected Claims
Other Unsecrued Crediotr Claims             $    5,265,303    $     5,265,303    $    5,265,303   $   5,265,303    $   5,265,303   $   5,265,303     $   5,265,303   $    5,265,303   $        5,265,303   $        5,265,303     $        5,265,303      $        5,265,303
Total Unsecured Creditor Dispursments       $    5,265,303    $     5,265,303    $    5,265,303   $   5,265,303    $   5,265,303   $   5,265,303     $   5,265,303   $    5,265,303   $        5,265,303   $        5,265,303     $        5,265,303      $        5,265,303

TOTAL Disbursements                         $      1,069,298 $       1,061,272 $        875,208 $        827,415 $       769,042 $        832,887 $         832,887 $        842,887 $            872,074 $           603,923 $               395,969 $               487,177
Net change in Cash                          $       209,093 $          207,192 $        163,119 $        151,798 $       137,971 $        153,094 $         153,094 $        143,094 $            150,007 $            86,490 $                37,231 $                58,836
Dip Financing
Dispursments to Unsecured Creditors
Ending Cash Balance****                     $      3,175,827 $       3,383,020 $       3,546,138 $     3,697,936 $      3,835,906 $     3,989,000 $       4,142,094 $      4,285,188 $          4,435,196 $          4,521,685 $            4,558,916 $             4,617,752




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SoNev Construction, LLC
Income Statement
                                                FY 2022         Year 2023        Year 2024     Year 2025     Year 2026     Year 2027
Sales Revenue
Project Revenue                                $11,410,565     $11,440,536       $11,762,922   $11,924,316   $12,034,500   $12,322,500
Project Retention                               -$391,706       -$572,027         -$588,146     -$596,216     -$601,725     -$616,125
Total Revenue                                  $11,018,859     $10,868,509       $11,174,776   $11,328,100   $11,432,775   $11,706,375

Cost of Projects
   Direct Labor                                $3,756,163       $3,660,972       $3,764,135    $3,815,781    $3,851,040    $3,943,200
   Bulk Fuel                                    $835,940         $686,432         $705,775      $715,459      $722,070      $739,350
   Tractor & Trailer Repair & Maintenance       $437,233         $486,587         $986,909     $1,000,450    $1,009,695    $1,033,858
   Equipment Repairs & Maintenance              $929,579         $959,861           $3,366        $3,412        $3,444        $3,526
   Small Equipment & Tools (Expense)              $3,288           $3,274         $500,298      $507,163      $511,849      $524,098
   Car & Truck                                  $132,397         $194,489         $199,970      $202,713      $204,587      $209,483
   Contractors                                  $184,707         $140,719         $144,684      $146,669      $148,024      $151,567
   Equipment Rental                            $1,538,892       $1,372,864       $1,411,551    $1,430,918    $1,444,140    $1,478,700
   Equipment Transportation                      $25,133          $24,562          $25,254       $25,601       $25,837       $26,455
   Job Supplies                                 $153,939          $97,230          $99,970      $101,342      $102,278      $104,726
   Permits                                       $13,803           $5,149           $5,294        $5,367        $5,416        $5,546
Total Cost of Project                          $8,011,075       $7,632,138       $7,847,206    $7,954,874    $8,028,380    $8,220,508

Gross Profit                                   $3,007,784       $3,236,371       $3,327,570    $3,373,226    $3,404,395    $3,485,867

Operating Expenses
Bank Charges & Fees                              $12,900           $5,284           $5,433        $5,507        $5,558        $5,558
Dues & Subscriptions                             $16,181          $14,996          $15,418       $15,630       $15,774       $15,774
Recruiting and Retention                          $1,867           $1,542           $1,585        $1,607        $1,622        $1,622
Rent & Lease                                    $118,960          $61,972          $63,719       $64,593       $65,190       $65,190
Utilities                                        $64,075          $63,301          $65,085       $65,978       $66,587       $66,587
Shipping, Freight & Delivery                      $3,062            $22              $23           $23           $23           $23
Taxes & Licenses                                 $34,813          $16,837          $17,312       $17,549       $17,711       $17,711
Training                                          $2,501           $2,753           $2,831        $2,870        $2,896        $2,896
Health Insurance - 1001                         $151,677          $68,460          $70,389       $71,355       $72,014       $72,014
Insurance                                       $353,619         $295,166         $303,483      $307,647      $310,490      $310,490
Interest Charge                                  $27,071          $18,178          $18,690       $18,947       $19,122       $19,122
Office Supplies & Software                       $16,251          $16,154          $16,609       $16,837       $16,993       $16,993
Penalties                                         $8,297           $8,260           $8,493        $8,610        $8,689        $8,689
Legal & Professional Services                   $133,616         $129,010         $132,645      $134,465      $135,708      $135,708
Meal & Lodging                                    $5,406           $5,720           $5,881        $5,962        $6,017        $6,017
Travel                                            $7,726           $7,936           $8,160        $8,272        $8,348        $8,348
Depreciation                                    $456,563         $715,592         $735,757      $745,852      $752,744      $752,744
Total Operating Costs                          $1,414,585       $1,431,184       $1,471,514    $1,491,704    $1,505,487    $1,505,487
OPE Margin%                                      12.84%           13.17%           13.17%        13.17%        13.17%        12.86%
Operating Profit                               $1,593,200       $1,805,187       $1,856,056    $1,881,522    $1,898,908    $1,980,379
Interest Cost                                    $27,071          $18,178          $18,690       $18,947       $19,122       $19,122
Other Income
Net Profit Before Tax                          $1,566,129       $1,787,009       $1,837,366    $1,862,576    $1,879,786    $1,961,258
PBT Margin%                                      14.21%           16.44%           16.44%        16.44%        16.44%        16.75%
Taxation                                        $360,210         $411,012         $422,594      $428,392      $432,351      $451,089
Net Profit After Tax                           $1,205,919       $1,375,997       $1,414,772    $1,434,183    $1,447,435    $1,510,168
NP Margin%                                       10.94%           12.66%           12.66%        12.66%        12.66%        12.90%
EBIDTA                                         $2,049,762       $2,520,779       $2,591,813    $2,627,374    $2,651,652    $2,733,123

EBITDA Margin%                                  18.60%           23.19%           23.19%        23.19%         23.19%        23.35%




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PROJECTS REVENUE WATERFALL
                                                                                         Project %     Project Completion
                                                                                                                    Project
                                                                                                                          % Completion
                                                                                                                                Project%Completion
                                                                                                                                            Project%Completion
                                                                                                                                                        Project%Completion %                      Total


Project Description                        Location        Contract Value       Complete Remaining          Year 2022    Year 2023    Year 2024     Year 2025    Year 2026    Year 2027             %
SLC Crushing (change order)                                    $250,000            95%           5%           100%          0%           0%            0%           0%           0%               100%
SLC Crushing (wadsworth project 2)                             $490,000             0%          100%           50%         50%           0%            0%           0%           0%               100%
Cairn Point Apartments                                        $1,188,860           75%           25%          100%          0%           0%            0%           0%           0%               100%
Isles at corral canyon phase l                                $3,134,170           15%           85%          100%          0%           0%            0%           0%           0%               100%
Isles at corral (change order 1 pad cap)                       $380,000            40%           60%          100%          0%           0%            0%           0%           0%               100%
Old Sorrel Parkway                                             $350,000            50%           50%          100%          0%           0%            0%           0%           0%               100%
RLW I-80                                                       $468,000            30%           70%           80%         20%           0%            0%           0%           0%               100%
Pocatello I-86 and I-15                    ID                 $6,150,000           100%         100%           18%         46%          36%            0%           0%           0%               100%
Pocatello I-86 and I-16 Phase 2                               $6,150,000           100%         100%           0%          15%          60%           25%           0%           0%               100%
Asteria                                                        $850,000            100%          0%           100%          0%           0%            0%           0%           0%               100%
Asteria change order #1                                        $489,175            25%           75%           95%          5%           0%            0%           0%           0%               100%
Asteria change order #2                                        $91,526              0%          100%           60%         40%           0%            0%           0%           0%               100%
Asteria change order #3                                        $126,112             0%          100%           60%         40%           0%            0%           0%           0%               100%
Lhoist Virginia single shift excraction                        $386,952            85%           15%          100%          0%           0%            0%           0%           0%               100%
Lhoist Double shift extraction                                $2,400,000            0%           30%           30%          0%           0%            0%           0%           0%                30%
Lhoist Rental equipment                                       $1,198,750            0%           30%           30%          0%           0%            0%           0%           0%                30%
Total Contracted                                            $24,103,547

Pending Award:                                                                   Award %
Toquerville storm drain                    UT                  $300,000             0%          100%          15%          60%          25%           0%           0%           0%                100%
Blackfoot I15 Bridge                       ID                 $1,500,000           80%          100%          15%          60%          25%           0%           0%           0%                100%
Meta Boise Crushing and Dirt               ID                 $3,500,000           80%          100%          5%           23%          40%           32%          0%           0%                100%
Meta Boise Crushing and Dirt Phase 3       ID                 $4,000,000           50%          100%          0%           0%           0%            20%          37%          43%               100%
Meta Boise Crushing and Dirt Phase 4       ID                 $4,000,000           50%          100%          0%           0%           0%            50%          50%          0%                100%
Crushing Shaw Rancho                       CA                 $1,591,450           75%          100%          20%          36%          36%           8%           0%           0%                100%
                                                            $14,891,450

Idaho & Utah Project Projections                      11M per year for the next 5Award
                                                                                 years %
UT Project 1                               UT                 $1,550,000            0%          100%              0%       50%          36%           14%          0%           0%                100%
UT Project 2                               UT                 $3,000,000            0%          100%              0%       42%          6%            52%          0%           0%                100%
UT Project 3                               UT                 $1,800,000            0%          100%              0%       35%          36%           29%          0%           0%                100%
UT Project 4                               UT                 $1,550,000            0%          100%              0%       0%           0%            61%          39%          0%                100%
UT Project 5                               UT                 $2,850,000            0%          100%              0%       0%           0%            0%           4%           96%               100%
UT Project 6                               UT                 $3,500,000            0%          100%              0%       0%           0%            36%          54%          10%               100%
UT Project 7                               UT                 $2,550,000            0%          100%              0%       0%           0%            0%           55%          45%               100%
Idaho Project 1                            UT                 $2,000,000            0%          100%              0%       35%          5%            0%           0%           60%               100%
Idaho Project 2                            UT                 $2,550,000            0%          100%              0%       0%           0%            0%           5%           95%               100%
Idaho Project 3                            UT                 $2,500,000            0%          100%              0%       40%          60%           0%           0%           0%                100%
Idaho Project 4                            UT                 $1,250,000            0%          100%              0%       33%          36%           31%          0%           0%                100%
Idaho Project 5                            UT                 $2,110,000            0%          100%              0%       0%           0%            25%          60%          15%               100%
Idaho Project 6                            UT                 $2,500,000            0%          100%              0%       0%           0%            0%           30%          70%               100%
Idaho Project 7                            UT                 $4,000,000            0%          100%              0%       0%           0%            23%          60%          17%               100%
                                                            $33,710,000

Revenue Projections                                                                                         Year 2022    Year 2023    Year 2024     Year 2025    Year 2026    Year 2027    Total 5 Yr Projection
SLC Crushing (change order)                                                                                  $12,500         $0           $0            $0          $0           $0              $12,500
SLC Crushing (wadsworth project 2)                                                                           $245,000     $245,000        $0            $0          $0           $0             $490,000
Cairn Point Apartments                                                                                       $297,215        $0           $0            $0          $0           $0             $297,215
Isles at corral canyon phase l                                                                              $2,664,045       $0           $0            $0          $0           $0             $2,664,045
Isles at corral (change order 1 pad cap)                                                                     $228,000        $0           $0            $0          $0           $0             $228,000
Old Sorrel Parkway                                                                                           $175,000        $0           $0            $0          $0           $0             $175,000
RLW I-80                                                                                                     $234,000      $93,600        $0            $0          $0           $0             $327,600
Pocatello I-86 and I-15                                                                                     $1,107,000   $2,829,000   $2,214,000        $0          $0           $0             $6,150,000
Pocatello I-86 and I-16 Phase 2                                                                                   $0      $922,500    $3,690,000    $1,537,500      $0           $0             $6,150,000
Asteria                                                                                                           $0         $0           $0            $0          $0           $0                 $0
Asteria change order #1                                                                                      $342,423      $24,459        $0            $0          $0           $0             $366,882
Asteria change order #2                                                                                      $54,916       $36,610        $0            $0          $0           $0              $91,526
Asteria change order #3                                                                                      $75,667       $50,445        $0            $0          $0           $0             $126,112
Lhoist Virginia single shift excraction                                                                      $58,043         $0           $0            $0          $0           $0              $58,043
Lhoist Double shift extraction                                                                               $720,000        $0           $0            $0          $0           $0             $720,000
Lhoist Rental equipment                                                                                      $359,625        $0           $0            $0          $0           $0             $359,625
Total Contracted                                                                                           $6,573,433    $4,201,614   $5,904,000    $1,537,500      $0           $0            $18,216,548


Pending Award:
Toquerville storm drain                                                                                      $45,000      $180,000      $75,000         $0           $0           $0            $300,000
Blackfoot I15 Bridge                                                                                         $225,000     $900,000     $375,000         $0           $0           $0            $1,500,000
Meta Boise Crushing and Dirt                                                                                 $175,000     $808,500    $1,400,000    $1,120,000       $0           $0            $3,503,500
Meta Boise Crushing and Dirt Phase 3                                                                              $0         $0           $0         $800,000    $1,480,000   $1,720,000        $4,000,000
Meta Boise Crushing and Dirt Phase 4                                                                              $0         $0           $0        $2,000,000   $2,000,000       $0            $4,000,000
Crushing Shaw Rancho                                                                                         $318,290     $572,922     $572,922      $127,316        $0           $0            $1,591,450
                                                                                                            $763,290     $2,461,422   $2,422,922    $4,047,316   $3,480,000   $1,720,000       $14,894,950
Idaho & Utah Project Projections                      11M per year for the next 5 years
UT Project 1                                                  $1,550,000                                          $0      $775,000     $558,000      $217,000        $0         $0              $1,550,000
UT Project 2                                                  $3,000,000                                          $0     $1,260,000    $180,000     $1,560,000       $0         $0              $3,000,000
UT Project 3                                                  $1,800,000                                          $0      $630,000     $648,000      $522,000        $0         $0              $1,800,000
UT Project 4                                                  $1,550,000                                          $0         $0           $0         $945,500     $604,500      $0              $1,550,000
UT Project 5                                                  $2,850,000                                          $0         $0           $0            $0        $114,000  $2,736,000          $2,850,000
UT Project 6                                                  $3,500,000                                          $0         $0           $0        $1,260,000   $1,890,000  $350,000           $3,500,000
UT Project 7                                                  $2,550,000                                          $0         $0           $0            $0       $1,402,500 $1,147,500          $2,550,000
Idaho Project 1                                               $2,000,000                                          $0      $700,000     $100,000         $0           $0     $1,200,000          $2,000,000
Idaho Project 2                                               $2,550,000                                          $0         $0           $0            $0        $127,500  $2,422,500          $2,550,000
Idaho Project 3                                               $2,500,000                                          $0     $1,000,000   $1,500,000        $0           $0         $0              $2,500,000
Idaho Project 4                                               $1,250,000                                          $0      $412,500     $450,000      $387,500        $0         $0              $1,250,000
Idaho Project 5                                               $2,110,000                                          $0         $0           $0         $527,500    $1,266,000  $316,500           $2,110,000
Idaho Project 6                                               $2,500,000                                          $0         $0           $0            $0        $750,000  $1,750,000          $2,500,000
Idaho Project 7                                               $4,000,000                                          $0         $0           $0         $920,000    $2,400,000  $680,000           $4,000,000
Total                                                        $33,710,000                                          $0     $4,777,500   $3,436,000    $6,339,500   $8,554,500 $10,602,500        $33,710,000




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                                    $7,336,723   $11,440,536 $11,762,922 $11,924,316 $12,034,500 $12,322,500   $66,821,497




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                                    Case 22-21037     Doc 160   Filed 08/24/22 Entered 08/24/22 15:42:31                 Desc Main
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Revenue Projections                                                   Year 2022       Year 2023       Year 2024       Year 2025     Year 2026     Year 2026 Check
Total Project Revenue                                                 $7,336,723     $11,440,536     $11,762,922     $11,924,316   $12,034,500   $12,322,500 $66,821,497

Direct Labor                                   32.00%                 $2,347,751     $3,660,972      $3,764,135      $3,815,781    $3,851,040    $3,943,200
Bulk Fuel                                       6.00%                  $440,203       $686,432        $705,775        $715,459      $722,070      $739,350
Tractor & Trailer Repair & Maintenance          4.25%                  $312,044       $486,587        $500,298        $507,163      $511,849      $524,098
Equipment Repairs & Maintenance                 8.39%                  $615,551       $959,861        $986,909       $1,000,450    $1,009,695    $1,033,858
Small Equipment & Tools (Expense)               0.03%                   $2,099         $3,274          $3,366          $3,412        $3,444        $3,526
Car & Truck                                     1.70%                  $124,724       $194,489        $199,970        $202,713      $204,587      $209,483
Contractors                                     1.23%                  $90,242        $140,719        $144,684        $146,669      $148,024      $151,567
Equipment Rental                               12.00%                  $880,407      $1,372,864      $1,411,551      $1,430,918    $1,444,140    $1,478,700
Equipment Transportation                        0.21%                  $15,751        $24,562         $25,254         $25,601       $25,837       $26,455
Job Supplies                                    0.85%                  $62,353        $97,230         $99,970         $101,342      $102,278      $104,726
Permits                                         0.05%                   $3,302         $5,149          $5,294          $5,367        $5,416        $5,546
Total Project Cost                           67%                      $4,894,429     $7,632,138      $7,847,206      $7,954,874    $8,028,380    $8,220,508  $44,577,536
Gross Margin                                                                   67%            67%             67%            67%           67%           67%
Gross Profit                                                            $2,442,295      $3,808,398      $3,915,716    $3,969,442    $4,006,120    $4,101,992
Profit Margin                                                                  33%            33%             33%            33%           33%           33%
Operating Costs
Bank Charges & Fees                               0.05%                 $3,388         $5,284          $5,433          $5,507        $5,558        $5,558
Dues & Subscriptions                              0.13%                 $9,617         $14,996         $15,418         $15,630       $15,774       $15,774
Recruiting and Retention                          0.01%                  $989          $1,542          $1,585          $1,607        $1,622        $1,622
Rent & Lease                                      0.54%                 $39,742        $61,972         $63,719         $64,593       $65,190       $65,190
Utilities                                         0.55%                 $40,594        $63,301         $65,085         $65,978       $66,587       $66,587
Shipping, Freight & Delivery                      0.00%                   $14            $22             $23             $23           $23           $23
Taxes & Licenses                                  0.15%                 $8,721         $16,837         $17,312         $17,549       $17,711       $17,711
Training                                          0.02%                 $1,501         $2,753          $2,831          $2,870        $2,896        $2,896
Health Insurance - 1001                           1.87%                 $43,903        $68,460         $70,389         $71,355       $72,014       $72,014
Insurance                                         2.58%                $189,287       $295,166        $303,483        $307,647      $310,490      $310,490
Interest Charge                                   0.16%                 $11,657        $18,178         $18,690         $18,947       $19,122       $19,122
Office Supplies & Software                        0.14%                 $10,360        $16,154         $16,609         $16,837       $16,993       $16,993
Penalties                                         0.07%                 $5,297         $8,260          $8,493          $8,610        $8,689        $8,689
Legal & Professional Services                     1.13%                 $82,733       $129,010        $132,645        $134,465      $135,708      $135,708
Meal & Lodging                                    0.05%                 $3,668         $5,720          $5,881          $5,962        $6,017        $6,017
Travel                                            0.07%                 $5,089         $7,936          $8,160          $8,272        $8,348        $8,348
Total Operating Cost                         8%                        $456,563       $715,592        $735,757        $745,852      $752,744      $752,744    $4,159,250




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